USCA Case #24-1199      Document #2059780           Filed: 06/13/2024    Page 1 of 83



              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


SIERRA CLUB and PUBLIC CITIZEN      )
         Petitioners,               )
                                    )
     v.                             )               No. 24-1199
                                    )
FEDERAL ENERGY REGULATORY           )
COMMISSION                          )
          Respondent.               )
____________________________________)

                           PETITION FOR REVIEW


       Pursuant to Section 19(b) of the Natural Gas Act, 15 U.S.C. § 717r(b),

Federal Rule of Appellate Procedure 15, and Circuit Rule 15, Sierra Club and

Public Citizen hereby petition the United States Court of Appeals for the District of

Columbia Circuit for review of the following order of the Federal Energy

Regulatory Commission (“Commission”):

         • Order Issuing Presidential Permit and Granting Authorization Under

             Section 3 of the Natural Gas Act, Saguaro Connector Pipeline, LLC,

             FERC Docket No. CP23-29 (February 15, 2024), 186 FERC ¶ 61,114

             and attached as Exhibit A.

      All petitioners were intervenors in the Commission proceedings below.

      Petitioners timely filed a request for rehearing of the Order Issuing

Presidential Permit and Granting Authorization on March 18, 2024, which FERC
USCA Case #24-1199      Document #2059780           Filed: 06/13/2024   Page 2 of 83



failed to respond to within 30 days. As such, petitioners’ request for rehearing was

deemed denied by operation of law, as FERC acknowledged in its Notice of Denial

of Rehearing by Operation of Law and Providing for Further Consideration re

Saguaro Connector Pipeline, LLC under CP23-29 (Apr. 18, 2024), 187 FERC

¶ 62,050 and attached as Exhibit B. Accordingly, this Court has jurisdiction to

review the Order Granting Authorization Under Section 3 of the Natural Gas Act,

pursuant to 15 U.S.C. § 717r(b).

      This petition for review is timely filed, because FERC has not yet issued an

order on the merits of the request for rehearing. Env’t Def. Fund v. FERC, 2 F.4th

953, 972 (D.C. Cir. 2021), cert. denied sub nom. Spire Missouri Inc. v. Env’t Def.

Fund, 142 S. Ct. 1668 (2022). Moreover, this petition was filed within 60 days of

the date the request for rehearing was deemed denied. 15 U.S.C. § 717r(b).


Dated June 13, 2024.

                                      Respectfully submitted,

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USCA Case #24-1199   Document #2059780       Filed: 06/13/2024    Page 3 of 83



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USCA Case #24-1199      Document #2059780           Filed: 06/13/2024   Page 4 of 83



              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


SIERRA CLUB and PUBLIC CITIZEN      )
         Petitioners,               )
                                    )
     v.                             )               No. 24-1199
                                    )
FEDERAL ENERGY REGULATORY           )
COMMISSION                          )
          Respondent.               )
____________________________________)

                   PETITIONERS’ RULE 26.1 STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1,

Petitioners make the following disclosures:

      Sierra Club: Sierra Club has no parent companies, and there are no publicly

held companies that have a 10 percent or greater ownership interest in Sierra Club.

Sierra Club, a corporation organized and existing under the laws of the State of

California, is a nonprofit organization dedicated to the protection and enjoyment of

the environment.

      Public Citizen: Public Citizen is a nonprofit organization that has no parent

companies, and no publicly held company has any form of ownership interest in it.

Public Citizen advocates for consumers, citizens, and the public to promote the

adoption and implementation of governmental policies and actions that protect
USCA Case #24-1199      Document #2059780          Filed: 06/13/2024   Page 5 of 83



against corporate actions and behaviors that threaten to harm public health and

safety and the environment.



                                     Respectfully submitted,

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USCA Case #24-1199      Document #2059780           Filed: 06/13/2024   Page 6 of 83



                             CERTIFICATE OF SERVICE

      I hereby certify under penalty of perjury that on June 13, 2024, I served a

copy of the foregoing Petition for Review and Corporate Disclosure Statement by

email on the following parties, including all members of the service list in FERC

Docket No. CP23-29.

      These documents were also filed in the official FERC docket, publicly

accessible through FERC’s eLibrary system.

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USCA Case #24-1199      Document #2059780   Filed: 06/13/2024   Page 7 of 83



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USCA Case #24-1199   Document #2059780       Filed: 06/13/2024    Page 8 of 83



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USCA Case #24-1199   Document #2059780   Filed: 06/13/2024   Page 9 of 83




                       EXHIBIT A
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780           Filed: 06/13/2024     Page 10 of 83



                                        186 FERC ¶ 61,114
                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Jr., Chairman;
                               Allison Clements and Mark C. Christie.

         Saguaro Connector Pipeline, LLC                               Docket No. CP23-29-000

          ORDER ISSUING PRESIDENTIAL PERMIT AND GRANTING AUTHORIZATION
                      UNDER SECTION 3 OF THE NATURAL GAS ACT

                                          (Issued February 15, 2024)

                On December 20, 2022, Saguaro Connector Pipeline, L.L.C. (Saguaro) filed an
         application seeking a Presidential Permit and authorization pursuant to section 3 of the
         Natural Gas Act (NGA),1 Part 153 of the Commission’s regulations,2 and Executive
         Order Nos. 10485 and 120383 to site, construct, and operate a natural gas pipeline and
         related facilities for the export of natural gas at the International Boundary between the
         United States and Mexico. For the reasons discussed below, the Commission will grant
         the requested authorizations, subject to certain conditions.

         I.     Background and Proposal

               Saguaro, a limited liability company organized under the laws of Delaware, is
         wholly owned by ONEOK, Inc. through its various subsidiaries.4



                1
                    15 U.S.C. § 717b.
                2
                    18 C.F.R. pt. 153 (2022).
                3
                 Authorization under section 3 of the NGA is necessary for the siting,
         construction, expansion, or operation of facilities to import or export natural gas.
         15 U.S.C. § 717b(a). Pursuant to Executive Order No. 10485, dated September 3, 1953
         18 Fed. Reg. 5397, as amended by Executive Order No. 12038, dated February 3, 1978
         43 Fed. Reg. 4957, a Presidential Permit also must be obtained for the portion of an
         import or export facility crossing one of the United States’ international borders.
                4
                 ONEOK, Inc. owns and operates approximately 1,500 miles of interstate natural
         gas pipelines and 5,100 miles of state-regulated intrastate pipelines in Texas, Oklahoma,
         and Kansas.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780          Filed: 06/13/2024     Page 11 of 83
         Docket No. CP23-29-000                                                                 -2-

                Saguaro proposes to construct and operate an approximately 1,000 foot-long,
         48-inch-diameter pipeline from the United States-Mexico border at the center of the
         Rio Grande River to a point approximately 1,000 feet inland from the river, about
         18 miles southwest of Sierra Blanca in Hudspeth County, Texas (Border Facility).5 The
         Border Facility will have a design capacity of approximately 2.834 billion standard cubic
         feet per day (Bcf/day) and a maximum allowable operating pressure of 1,480 pounds per
         square inch gauge (psig). Saguaro states that, on the Mexican side of the border, the
         proposed pipeline will connect with another pipeline6 that will extend to a liquified
         natural gas (LNG) export facility under development on the West Coast of Mexico.
         Saguaro estimates the cost of the Border Facility to be $9,500,000.

               Saguaro states that it also plans to construct and operate a new intrastate pipeline
         (Connector Pipeline)7 located wholly within the State of Texas that will interconnect with
         the Border Facility. The proposed non-jurisdictional pipeline will consist of
         approximately 155 miles of 48-inch-diameter pipeline and transport natural gas to the
         Border Facility from a tie-in with WesTex’s existing intrastate natural gas pipeline at the
         Waha Hub in Pecos County, Texas. The proposed Connector Pipeline will also include
         two new compressor stations and other related appurtenances.

         II.    Procedural Issues

                A.       Public Notice, Interventions, and Comments

               Notice of Saguaro’s application was published in the Federal Register on
         January 11, 2023,8 establishing January 26, 2023, as the deadline for filing protests,
         motions to intervene, and comments. The Center for LNG, Mexico Pacific Limited LLC
         (MPL), the Natural Gas Supply Association, Public Citizen, and Sierra Club filed timely,
         unopposed motions to intervene.9 Juan Benito Mancias, Continental Resources, Inc.

                5
                 ONEOK WesTex Transmission, LLC (WesTex), a Saguaro affiliate, will
         construct and operate the border crossing facilities pursuant to an operating agreement
         between WesTex and Saguaro. Saguaro Application at 1 n.1.
                6
                  Because the name of the interconnecting pipeline in Mexico had not been
         finalized, Saguaro used “NewCo Mexico Pipeline” in its application. Id. at 4 n.5.
                7
               The Connector Pipeline will be subject to the jurisdiction of the Railroad
         Commission of Texas.
                8
                    88 Fed. Reg. 1575 (Jan. 11, 2023).
                9
                Timely, unopposed motions to intervene are granted by operation of Rule 214 of
         the Commission’s Rules of Practice and Procedures. See 18 C.F.R. § 385.214 (2023).
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780             Filed: 06/13/2024   Page 12 of 83
         Docket No. CP23-29-000                                                                -3-

         (Continental Resources), and Energy Transfer LP filed unopposed motions to intervene
         out of time that were granted.10 Sierra Club, Public Citizen, and Steve Chima also filed
         protests, to which Saguaro and Continental Resources filed answers.11 In addition,
         several commenters opposed the project, raising concerns about safety, damage to
         cultural resources, lowered local property values, and the environmental effects of the
         project. The protests and comments are addressed in the Environmental Assessment
         (EA) prepared for the project and, as appropriate, below.

               B.       Adequacy of Notice

                 Two commenters assert that they did not receive proper notice of their right to
         comment on the project application.12 Notice procedures are governed by section 157.9
         of the Commission’s regulations and require that the Commission’s notice of the
         application be issued within ten business days of Saguaro’s filing13 and published in the
         Federal Register.14 Additionally, section 157.6 of the Commission’s regulations require,
         among other things, that Saguaro publish notice of the project “in a daily or weekly
         newspaper of general circulation in each county in which the project is located.”15 Here,
         Saguaro published the notice in the Hudspeth County Herald16 and the Commission
         properly issued a notice, which was published in the Federal Register. Accordingly, the
         public was provided proper notice of the application. The fact that these commenters
         filed comments demonstrates that they did receive notice, and although their comments

               10
                  February 21, 2023 Notice Granting Late Intervention; March 22, 2023 Notice
         Grating Late Interventions.
               11
                  Although the Commission’s Rules of Practice and Procedure do not permit
         answers to protests, 18 C.F.R. § 385.213(a)(2 ) (2023), we will accept the answers
         because they provide information that assists in our decision-making.
               12
                  Bill Guerra Addington Mar. 7, 2023 Comments; Gracie Zent & Vickie Wilson
         Mar. 17, 2023 Comments.
               13
                   Saguaro filed its application on December 20, 2022. The Commission issued its
         notice ten business days later, on January 5, 2023. Notice of Application and
         Establishing Intervention Deadline, CP23-29-000 (Jan. 5, 2023). Monday, December 26,
         2022, and Monday, January 2, 2023, were recognized as federal holidays because
         Christmas and New Year’s Day fell during weekends.
               14
                    18 C.F.R. §§ 153.4, 157.9(a) (2023).
               15
                    18 C.F.R. Id. §§ 153.4, 157.6(d)(1)(iii) (2023).
               16
                    Saguaro Apr. 6, 2023 Response to Environmental Information Request at 58.
Document Accession #: 20240215-3066              Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780           Filed: 06/13/2024    Page 13 of 83
         Docket No. CP23-29-000                                                                  -4-

         were filed after the comment deadline, we have fully considered them. We conclude that
         their concerns about notice have been resolved.

                C.       Request for Evidentiary Hearing

                 In its protest, Public Citizen requests an evidentiary hearing,17 which Saguaro
         opposed.18 Although our regulations provide for a hearing on applications,19 neither
         section 3 of the NGA nor the Commission’s regulations require that such a hearing be a
         trial-type evidentiary hearing. When the written record provides a sufficient basis for
         resolving the relevant issues, it is our practice to provide for a paper hearing.20 That is
         the case here. We have reviewed the request for a hearing and conclude that all issues of
         material fact relating to Saguaro’s proposal are capable of being resolved on the basis of
         the written record, which contains substantial evidence on the issues presented by Public
         Citizen. Accordingly, we will deny the request for a formal hearing.

         III.   Consultation with Secretaries of State and Defense

                 On February 16, 2023, pursuant to Executive Order 10485, the Commission
         sent letters to the Secretary of Defense and Secretary of State seeking their
         recommendations on Saguaro’s request for issuance of a Presidential Permit authorizing
         the construction and operation of the subject border crossing facilities. By letters filed
         September 12, 2023, and November 28, 2023, the Secretary of Defense and the Secretary
         of State, respectively, indicated that they have no objections to the issuance of the
         proposed Presidential Permit to Saguaro.

         IV.    Discussion

                A.       Public Interest Standard Under Section 3 of the NGA

                Because the proposed facilities will be used to export natural gas across the
         international border between the United States and Mexico, the siting, construction, and
         operation of the facilities are subject to the Commission’s jurisdiction under section 3 of

                17
                     Public Citizen Jan. 26, 2023 Protest at 1.
                18
                     Saguaro Feb. 24, 2023 Answer at 18-19.
                19
                     18 C.F.R. §§ 153.4, 157.11 (2023).
                20
                  See, e.g., Moreau v. FERC, 982 F.2d 556, 568 (D.C. Cir. 1993) (“[the
         Commission] need not conduct such [an evidentiary] hearing if [the issues at hand] may
         be adequately resolved on the written record.”); Tenn. Gas Pipeline Co., LLC, 158 FERC
         ¶ 61,110, at P 11 (2017).
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780             Filed: 06/13/2024      Page 14 of 83
         Docket No. CP23-29-000                                                                   -5-

         the NGA.21 Section 3 provides that an application shall be approved if the Commission
         finds the proposal “will not be [in]consistent with the public interest,” subject to “such
         terms and conditions as the Commission [may] find necessary or appropriate.”22

                 Commenters argue that, although NGA section 3 states that natural gas exports to
         free trade agreement nations are deemed to be consistent with the public interest, that
         standard does not apply to the Border Facility because the gas will ultimately be
         re-exported to countries with which the United States does not have a free trade
         agreement.23 Sierra Club also asserts that Mexico’s status as a free trade agreement
         nation is irrelevant to the Commission’s public interest analysis because the Commission
         is not required to approve the infrastructure that would enable a DOE-approved export of




                21
                   15 U.S.C. § 717b(a). The regulatory functions of NGA section 3 were
         transferred to the Secretary of the Department of Energy (DOE) in 1977 pursuant to
         section 301(b) of the Department of Energy Organization Act, Pub. L. No. 95-91,
         42 U.S.C. § 7101 et seq. The Secretary subsequently delegated to the Commission the
         authority to approve or disapprove the construction and operation of natural gas import
         and export facilities and the site at which such facilities shall be located. The most recent
         delegation is in DOE Delegation Order No. S1-DEL-FERC-2006, effective May 16,
         2006. The Commission does not authorize importation or exportation of the commodity
         itself. Rather, applications for authorization to import or export natural gas must be
         submitted to the DOE. See EarthReports, Inc. v. FERC, 828 F.3d 949, 952-53 (D.C. Cir.
         2016) (detailing how regulatory oversight for the export of LNG and supporting facilities
         is divided between the Commission and DOE).
                22
                  15 U.S.C. § 717b(a). For a discussion of the Commission’s authority to
         condition its approvals of facilities under section 3 of the NGA, see, e.g., Distrigas Corp.
         v. FPC, 495 F.2d 1057, 1063-64 (D.C. Cir. 1974), cert. denied, 419 U.S. 834 (1974);
         Dynegy LNG Prod. Terminal, L.P., 97 FERC ¶ 61,231 (2001).
                23
                   See Public Citizen Jan. 26, 2023 Protest at 1-4 (arguing that approval of the
         project would “punch[ ] a destabilizing loophole in the Natural Gas Act [by] exploiting
         the automatic public interest treatment granted to Mexico to re-export U.S. produced gas
         to countries . . . that do not qualify for automatic public interest determination”); Sierra
         Club Jan. 26, 2023 Protest at 15 (“Mexico’s status as [free trade agreement] nation is
         irrelevant where, as here, the gas will be re-exported from Mexico to other, non-[free
         trade agreement] nations.”); Cindy Cochran Feb. 28, 2023 Comments at 1 (“None of this
         gas will supply domestic needs or the needs of our free-trade partner Mexico.”); Bill
         Guerra Addington Mar. 7, 2023 Comments at 3; Antionette Reyes Sept. 26, 2023
         Comments at 1.
Document Accession #: 20240215-3066              Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780             Filed: 06/13/2024   Page 15 of 83
         Docket No. CP23-29-000                                                                 -6-

         natural gas.24 Sierra Club states that section 3’s presumption toward approving border-
         crossing infrastructure is rebuttable, and the Commission should make its public interest
         determination by balancing a project’s benefits and harms, which includes a
         comprehensive environmental review.25 Here, commenters claim that the project’s
         adverse impacts outweigh its benefits because natural gas exports harm domestic
         consumers,26 because the project will result in negative environmental impacts on
         surrounding communities27 and because the project will result in increased greenhouse
         gas (GHG) emissions from the extraction, transportation, and burning of natural gas.28

                Section 3(a) of the NGA provides, in part, that “no person shall export any natural
         gas from the United States to a foreign country or import any natural gas from a foreign
         country without first having secured an order of the Commission authorizing it to do
         so.”29 As noted above, the Department of Energy Organization Act transferred the
         regulatory functions of section 3 of the NGA to the Secretary of Energy. Subsequently,
         the Secretary of Energy delegated to the Commission authority to “[a]pprove or
         disapprove the construction and operation of particular facilities, the site at which such



                24
                     Sierra Club Jan. 26, 2023 Protest at 15.
                25
                  Sierra Club Jan. 26, 2023 Protest at 14-15 & n.12; see also Sierra Club Sept. 25,
         2023 Comments on EA at 90 (incorporating by reference Sierra Club’s comments on
         MPL’s DOE gas export applications, in which Sierra Club states that the proposed export
         of natural gas would negatively affect the climate, raise domestic gas prices, and fail to
         protect national security).
                26
                   Sierra Club Jan. 26, 2023 Protest at 16-17; Public Citizen Jan. 26, 2023 Protest
         at 1; see also Antionette Reyes Sept. 26, 2023 Comments on EA at 2-3.
                27
                   Sierra Club Jan. 26, 2023 Protest at 15; Juan Benito Mancias Feb. 2, 2023
         Motion to Intervene at 1-2 (describing how the project would harm local tribal resources
         and ancestral lands and further environmental racism); Cindy Cochran Feb. 28, 2023
         Comments at 1-2 (stating that the project will result in health threats to nearby
         populations, further environmental racism, and threaten nearby cultural resources such as
         the historic Indian Hot Springs); Bill Guerra Addington Mar. 7, 2023 Comments at 2-4
         (alleging the project could further environmental racism because it would worsen
         cumulative health and environmental impacts and noting the presence of the Indian Hot
         Springs and other culturally significant sites).
                28
                     Sierra Club Jan. 26, 2023 Protest at 15-16.
                29
                     15 U.S.C. § 717b(a).
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780             Filed: 06/13/2024      Page 16 of 83
         Docket No. CP23-29-000                                                                    -7-

         facilities shall be located, and with respect to natural gas that involves the construction of
         new domestic facilities, the place of entry for imports or exit for exports.”30

                However, as we have previously explained, the Secretary has not delegated to the
         Commission any authority to approve or disapprove the import or export of the
         commodity itself.31 The Commission’s authority under section 3 of the NGA applies
         “only to the siting and the operation of the facilities necessary to accomplish an
         export[,]”32 while “export decisions [are] squarely and exclusively within the [DOE]’s
         wheelhouse.”33 Therefore, we decline to address commenters’ claims regarding the
         ultimate destination of the gas34 and potential commodity-related economic harm. These
         claims are relevant only to the exportation of the commodity of natural gas, which is
         within DOE’s exclusive jurisdiction; these claims are not implicated by our limited action


                30
                     DOE Delegation Order No. S1-DEL-FERC-2006 (effective May 16, 2006).
                31
                   Freeport LNG Dev., L.P., 148 FERC ¶ 61,076, reh’g denied, 149 FERC
         ¶ 61,119 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 36 (D.C. Cir. 2016)
         (Freeport) (finding that because the DOE, not the Commission, has sole authority to
         license the export of any natural gas through LNG facilities, the Commission is not
         required to address the indirect effects of the anticipated export of natural gas in its
         NEPA analysis); Sabine Pass Liquefaction, LLC, 146 FERC ¶ 61,117, reh’g denied,
         148 FERC ¶ 61,200 (2014), aff’d sub nom. Sierra Club v. FERC, 827 F.3d 59 (D.C. Cir.
         2016).
                32
                   Trunkline Gas Co., LLC, 155 FERC ¶ 61,328, at P 18 (2016). With respect to
         border-crossing projects, the Commission has consistently interpreted its section 3
         authority to extend only to the “small segment of . . . pipeline close to the
         border . . . deemed to be the import or export facility . . ..” E.g., Trans-Pecos Pipeline,
         LLC, 155 FERC ¶ 61,140, at P 31 n.33 (2016) (Trans-Pecos) (citing S. LNG, Inc.,
         131 FERC ¶ 61,155, at P 15 n.17 (2010)).
                33
                  Freeport, 827 F.3d at 46; see Ctr. for Biological Diversity v. FERC, 67 F.4th
         1176, 1185 (D.C. Cir. 2023) (Alaska LNG) (“. . .[T]he Department of Energy has
         exclusive jurisdiction over whether to approve natural gas exports . . ..”).
                34
                  In any event, both Saguaro and Continental Resources note that some of the gas
         for export may be consumed in Mexico. See Saguaro Feb. 24, 2023 Answer at 17-18
         n.62 (explaining that “[t]he downstream pipeline in Mexico could deliver to points other
         than the LNG facility” and that some LNG could be exported to other parts of Mexico);
         Continental Resources Mar. 13, 2023 Answer at 2 (explaining that Continental Resources
         could transport gas produced from recently acquired production sites to markets within
         Mexico via the downstream pipeline).
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780           Filed: 06/13/2024     Page 17 of 83
         Docket No. CP23-29-000                                                                 -8-

         of reviewing the proposed border crossing facilities.35 Similarly, Sierra Club’s concerns
         regarding the effects of GHGs resulting from the project are primarily related to DOE’s
         authorization of the export of gas and not the Commission’s siting of the facilities.36

                 As the U.S. Court of Appeals for the D.C. Circuit (D.C. Circuit) has explained, the
         NGA section 3 standard that a proposal “shall” be authorized unless it “will not be
         consistent with the public interest[,]”37 “sets out a general presumption favoring such
         authorizations.”38 To overcome this favorable presumption and support denial of an
         NGA section 3 application, there must be an “affirmative showing of inconsistency with
         the public interest.”39 This same standard applies to the Commission’s consideration of
         the siting and operation of facilities regardless of whether such facilities are exporting
         natural gas to free trade or non-free trade agreement nations.40


                35
                   See, e.g., Cameron LNG, LLC, 182 FERC ¶ 61,173, at P 13 (2023) (declining to
         address economic arguments); Valley Crossing Pipeline, LLC, 161 FERC ¶ 61,084,
         at P 12 (2017) (Valley Crossing) (same); Trans-Pecos, 155 FERC ¶ 61,140 at PP 14-15
         (explaining why commenters’ arguments that proposed border-crossing facilities would
         exceed demand by customers in Mexico are not under the Commission’s purview) (citing
         Nat’l Steel Corp., 45 FERC ¶ 61,100, at 61-332-333 (1988)).
                36
                 Alaska LNG, 67 F.4th at 1185; Freeport, 827 F.3d at 46; see Commonwealth
         LNG, 181 FERC ¶ 61,143, at PP 11-13 (2022).
                37
                     15 U.S.C. § 717b(a).
                38
                  Alaska LNG, 67 F.4th at 1188 (quoting W. Va. Pub. Servs. Comm’n v. U.S.
         Dep’t of Energy, 681 F.2d 847, 856 (D.C. Cir. 1982)); see also Sierra Club v. U.S. Dep’t
         of Energy, 867 F.3d 189, 203 (D.C. Cir. 2017) (Freeport II).
                39
                  Freeport II, 867 F.3d at 203 (quoting Panhandle Producers & Royalty Owners
         Ass’n v. Econ. Regul. Admin., 822 F.2d 1105, 1111 (D.C. Cir. 1987)).
                40
                   Compare Commonwealth LNG, LLC, 181 FERC ¶ 61,143 at PP 6, 10, 14-15
         (applying the public interest standard to an LNG project authorized by DOE to export to
         free-trade nations) with Alaska Gasline Dev. Corp., 171 FERC ¶ 61,134, at PP 5, 12-20
         (2020) (applying the same public interest standard for an LNG project authorized by
         DOE to export to both free trade and non-free trade agreement nations); see also Steel
         Reef Pipelines US LLC, 164 FERC ¶ 61,090, at PP 7-9 (2018) (Steel Reef) (applying the
         same public interest standard for a border crossing facility which would export gas to a
         free-trade nation). Moreover, we note that the re-export of U.S.-sourced gas from
         Mexico requires DOE authorization. See Mexico Pacific Limited, LLC, DOE/FE Order
         No. 4248, Docket No. 18-70-LNG (Sept. 19, 2018) (authorizing the export of natural gas
         to Mexico “for purposes of end use in Mexico, and to re-export U.S.-sourced natural
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780            Filed: 06/13/2024     Page 18 of 83
         Docket No. CP23-29-000                                                                 -9-

                We have reviewed Saguaro’s application to determine if the siting, construction,
         and operation of its facilities as proposed would be inconsistent with the public interest.
         The construction and operation of the border-crossing facility will have a minimal impact
         on landowners because, although the construction activities in the United States will
         temporarily disturb approximately 35.5 acres of land, only 1.2 acres will be permanently
         maintained for operation and maintenance.41 After construction, Saguaro will restore and
         revegetate the disturbed areas to allow for preconstruction usage (e.g., grazing) in
         accordance with the Commission’s Upland Erosion Control, Revegetation, and
         Maintenance Plan and the Wetland and Waterbody Construction and Mitigation
         Procedures.42 As discussed below and in the EA, the project will not have significant
         direct or indirect impacts on the environment if it is constructed and operated in
         compliance with the conditions in Appendix A to this order.

                 Sierra Club argues that the proposed project is not needed because MPL, the entity
         developing the downstream LNG export terminal in Mexico, has stated that its LNG
         export facility does not need the natural gas from the Saguaro Pipeline and that existing
         border-crossing capacity can support exports from MPL’s facility.43 This assertion is
         incorrect. Although the MPL LNG terminal may receive gas from other border-crossing
         facilities, MPL explains that the Saguaro border crossing will significantly expand the
         supply options available to MPL and its customers.44

               In view of the above considerations, we find that the arguments raised do not
         amount to an affirmative showing of inconsistency with the public interest that is
         necessary to overcome the presumption in section 3 of the NGA. Thus, the Commission

         gas. . .” to free trade agreement nations); Mexico Pacific Limited, LLC, DOE/FE Order
         No. 4312, Docket No. 18-70 LNG (Dec. 14, 2018) (authorizing the export to Mexico and
         re-export of U.S.-sourced natural gas to non-free trade agreement nations); Mexico
         Pacific Limited, LLC, DOE/FE Order No. 4995, Docket No. 22-167-LNG (Apr. 28,
         2023) (authorizing the export to Mexico and re-export of an additional 291.22 Billion
         cubic-feet per day of U.S.-sourced gas to free-trade agreement nations, and deciding to
         address MPL’s requested authorization to re-export natural gas to non-free trade
         agreement nations in a future order).
                41
                     EA at 4.
                42
                     Id. at 5.
                43
                  Sierra Club Nov. 13, 2023 Supplemental Comments at 4-5 (citing MPL’s
         Oct. 17, 2023 Reply Comments and MPL’s Apr. 19, 2023 Answer to Protests in DOE/FE
         Docket No. 22-167-LNG).
                44
                     MPL Oct. 17, 2023 Reply Comments at 8.
Document Accession #: 20240215-3066               Filed Date: 02/15/2024
        USCA Case #24-1199             Document #2059780           Filed: 06/13/2024      Page 19 of 83
         Docket No. CP23-29-000                                                                    - 10 -

         will issue a Presidential Permit, set forth in Appendix B to this order, and an NGA
         section 3 authorization to site, construct, and operate the proposed facilities.

                B.        Jurisdictional Arguments

                Sierra Club argues that the Commission should assert section 3 jurisdiction over
         the 155-mile-long intrastate pipeline because it is an interconnected project with the sole
         purpose of exporting gas to foreign markets.45 In the alternative, Sierra Club claims that
         the Commission should assert jurisdiction over the pipeline under section 7 of the NGA
         because it will transport interstate gas, and because, as a new pipeline, it is not eligible to
         provide Natural Gas Policy Act (NGPA) section 31146 service.47

                          1.       Section 3 Jurisdiction

                 Sierra Club claims that the Commission’s jurisdiction under NGA section 3 is not
         limited to small segments of export pipelines immediately adjacent to the international
         border48 and asserts that the Commission has arbitrarily chosen, without statutory or
         regulatory support, to limit its review to 1,000 feet of border-crossing pipe.49 It contends
         that in Louisiana Gas Systems, Inc. v. Panhandle Eastern Corp.50 and KansOk
         Partnership v. Kansas Pipeline Operating Co.,51 the Commission asserted jurisdiction
         over interconnected pipelines as singular, integrated pipeline systems, and that the
         Commission should treat the Connector Pipeline and Border Facility together under
         section 3.52 Sierra Club notes that the schedule for construction and the initial 20-year



                45
                  Sierra Club Jan. 26, 2023 Protest at 4-5; Sierra Club Sept. 25, 2023 Comments
         on EA, at 2-4, 55.
                46
                     15 U.S.C. § 3371.
                47
                     Sierra Club Jan. 26, 2023 Protest at 5-9.
                48
                     Id. at 2-5.
                49
                 Sierra Club Sept. 25, 2023 Comments on EA at 8-9 (citing Del. Riverkeeper
         Network v. FERC, 753 F.3d 1304, 1313 (D.C. Cir. 2014)).
                50
                     73 FERC ¶ 61,161 (1995) (Louisiana Gas).
                51
                     73 FERC ¶ 61,160 (1995) (KansOk).
                52
                  Sierra Club Jan. 26, 2023 Protest at 4-5; Sierra Club Sept. 25, 2023 Comments
         on EA at 4-8.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024      Page 20 of 83
         Docket No. CP23-29-000                                                                 - 11 -

         service terms are the same for the Border Facility and Connector Pipeline,53 that the
         projects will be constructed and operated by affiliated entities,54 and that Saguaro has not
         identified any delivery points within the State of Texas.55

                 Section 3(a) of the NGA provides that “no person shall export any natural gas
         from the United States to a foreign country or import any natural gas from a foreign
         country without first having secured an order of the Commission authorizing it to do
         so.”56 That provision does not include the term “facilities” and, initially, following
         enactment of the Natural Gas Act in 1938, the Commission did not view section 3 as
         providing it jurisdiction over the construction and operation of import or export
         facilities.57 Instead, the Commission exercised jurisdiction over those facilities only
         under the executive authority delegated to it to act on applications for Presidential
         Permits.58 In Distrigas Corp.,59 however, the court determined that section 3 provides the
         Commission authority over the construction and operation of natural gas import or export
         facilities. Since then, the Commission has explained that “when companies construct a
         pipeline to transport import or export volumes, only a small segment of the pipeline close
         to the border is deemed to be the import or export facility for which section 3
         authorization is necessary[.]”60 This interpretation of section 3(a) is also consistent with
         DOE’s delegation order, which grants the Commission the limited authority to approve
         “the construction and operation of particular facilities, the site at which such facilities

                53
                     Sierra Club Sept. 25, 2023 Comments on EA at 6-7.
                54
                     Id. at 4-6.
                55
                     Sierra Club Nov. 13, 2023 Supplemental Comments at 3.
                56
                     15 U.S.C. § 717b(a).
                57
                     Shell U.S. Gas & Power LLC, 148 FERC ¶ 61,163, at n.10 (2014).
                58
                     Id.
                59
                     495 F.2d at 1064.
                60
                   See, e.g., Valley Crossing, 161 FERC ¶ 61,084 at P 18; Atl. Richfield Co.,
         49 FERC ¶ 61,294, at 62,109-10 (1989) (“The Commission’s authority under section 3 is
         limited to approval of the site of the import/export of gas . . ..”). The pipeline segment
         that is deemed to be the import or export facility has been generally about the same
         length as the border crossing facilities here. See, e.g., NET Mex. Pipeline Partners, LLC,
         145 FERC ¶ 61,112 (2013) (1,400 feet long); Oasis Pipeline, LP, 127 FERC ¶ 61,263,
         at P 18 (2009) (836 feet long); Valero Transmission, L.P., 57 FERC ¶ 61,299,
         at 61,954-55 (1991) (1,000 feet long).
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780              Filed: 06/13/2024      Page 21 of 83
         Docket No. CP23-29-000                                                                   - 12 -

         shall be located, and with respect to natural gas that involves the construction of new
         domestic facilities, the place of entry for imports or exit for exports . . ..”61 Therefore, we
         find that NGA section 3 does not provide a basis for the Commission to extend its
         jurisdiction beyond the “particular facilities” located at the place of export, which, in this
         case, is the approximately 1,000 feet of pipeline crossing the border.

                 Moreover, neither Louisiana Gas nor KansOk, both of which were compliance
         proceedings, support expanding the Commission’s NGA section 3 jurisdiction over
         border crossing facilities to interconnected intrastate facilities. In Louisiana Gas,
         three affiliated pipelines — an intrastate pipeline, an interstate pipeline, and a Hinshaw
         pipeline — sought to avoid the Commission’s NGA section 7 jurisdiction over the
         construction and operation of facilities used to transport gas from Texas into Louisiana
         by connecting three separate pipeline segments, including a short, interstate segment that
         would not be contiguous with the rest of the interstate company’s other facilities (the
         interstate segment would be constructed, and interstate service over the various facilities
         would purportedly be provided, under NGPA section 311).62 Similarly, KansOk involved
         an intrastate pipeline in Oklahoma which interconnected with a one-mile segment of
         interstate pipeline, owned by an affiliate, Riverside Pipeline Company (Riverside), that
         crossed the Oklahoma/Kansas border. Riverside then connected to an affiliated Hinshaw
         pipeline in Kansas that extended to the Kansas/Missouri border where the Hinshaw
         pipeline connected to a second segment of interstate pipeline owned by Riverside which
         crossed the state border into Missouri.63 The three pipelines were purportedly
         transporting gas under NGPA section 311. On review, the Commission held that both the
         contemplated facilities in Louisiana Gas and the existing facilities in KansOk constituted
         integrated interstate pipelines, subject in their entirety to the Commission’s jurisdiction
         under section 7 of the NGA, as opposed to individual segments of pipeline each with a
         different jurisdictional status.64 These cases are not relevant to this proceeding because
         there is no evidence in the record to show Saguaro is combining pipelines to circumvent
         the Commission’s NGA section 7(c) jurisdiction over interstate transportation facilities.




                61
                     DOE Delegation Order No. S1-DEL-FERC-2006 (effective May 16, 2006).
                62
                     Louisiana Gas, 73 FERC at 61,493-94.
                63
                     KansOk, 73 FERC at 61,480-81.
                64
                     Louisiana Gas, 73 FERC at 61,500-03; KansOk, 73 FERC at 61,484-88.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024      Page 22 of 83
         Docket No. CP23-29-000                                                                   - 13 -

                         2.     Section 7 Jurisdiction

                 In the alternative, Sierra Club states that the Commission should assert jurisdiction
         over the Connector Pipeline under section 7 of the NGA.65 It avers that the Connector
         Pipeline will likely transport interstate gas when it begins providing service and that
         Saguaro has failed to provide sufficient information to support its statement that the
         pipeline will initially operate as an intrastate pipeline.66 Sierra Club notes that the
         Connector Pipeline will receive gas from the WesTex Pipeline system, which
         interconnects with 20 interstate gas pipelines, at the Waha Hub, a major interstate gas
         trading hub.67 Sierra Club also notes that the WesTex Pipeline system has a capacity of
         less than one million cubic feet per day, while the Connector Pipeline would have a
         capacity of 2.8 billion cubic feet per day.68 It claims that these interconnections and the
         difference in capacity between the WesTex and the Connector Pipeline demonstrate that
         the purpose of the project—and Saguaro’s “ultimate intent”—is to transport interstate
         gas.69 Sierra Club further notes that Saguaro admits that it may seek authority to
         transport gas pursuant to NGPA section 311 at some point in the future and speculates
         that Saguaro may seek to do so immediately after pipeline construction.70 Sierra Club




                65
                     15 U.S.C. § 717f.
                66
                   Sierra Club Jan. 26, 2023 Protest at 5-6 (citing Associated Gas Distribs. v.
         FERC, 899 F.2d 1250, 1255 (D.C. Cir. 1990); Ga. Strait Crossing Pipeline LP,
         100 FERC ¶ 61,280 (2002)); Sierra Club Sept. 25, 2023 Comments on EA at 9-10
         (citations omitted); Sierra Club Nov. 13, 2023 Supplemental Comments at 5-6.
                67
                  Sierra Club Jan. 26, 2023 Protest at 6-7; Sierra Club Sept. 25, 2023 Comments
         on EA at 10-12, 16-18 (further detailing the structure and interconnections of the WesTex
         system); see also Antionette Reyes Sept. 26, 2023 Comments on EA 1.
                68
                     Sierra Club Sept. 25, 2023 Comments on EA at 20-21.
                69
                  Sierra Club Jan. 26, 2023 Protest at 6-8; Sierra Club Sept. 25, 2023 Comments
         on EA at 12-14, 18-20.
                70
                  Sierra Club Jan. 26, 2023 Protest at 8; Sierra Club Sept. 25, 2023 Comments on
         EA at 21.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199             Document #2059780         Filed: 06/13/2024     Page 23 of 83
         Docket No. CP23-29-000                                                                   - 14 -

         avers that NGPA section 31171 was not intended to allow new pipelines that will transport
         interstate gas to avoid the Commission’s NGA regulation.72

                Section 1(b) of the NGA provides that the NGA “shall apply to the transportation
         of natural gas in interstate commerce,” but not “to any other transportation … of natural
         gas.”73 Under section 2(16) of the Natural Gas Policy Act (NGPA),74 an “intrastate
         pipeline” is “any person engaged in natural gas transportation (not including gathering)
         which is not subject to the jurisdiction of the Commission under the NGA.” Generally,
         an intrastate pipeline exists within the borders of one state and delivers gas produced in
         the same state to end-users or a local distribution company (LDC) to be consumed within
         the same state.75 The export of natural gas constitutes foreign commerce, which is
         distinct from, and mutually exclusive of, interstate commerce.76 Thus, in this case, if the
         Connector Pipeline transports only Texas-sourced gas that will not enter interstate
         commerce, the pipeline is an intrastate pipeline not subject to the Commission’s NGA
         jurisdiction.77

                 Saguaro’s proposal mirrors that of the Valley Crossing Pipeline, a similar
         upstream, intrastate pipeline in Texas that delivered natural gas to a border crossing
         facility.78 There, the Commission explained that “[t]he mere existence of a physical

                71
                   Section 311(a) of the NGPA permits the Commission to authorize transportation
         by an intrastate pipeline on behalf of an interstate pipeline or local distribution company.
         15 U.S.C. § 3371(a).
                72
                   Sierra Club Jan. 26, 2023 Protest at 8 (citing Associated Gas Distribs., 899 F.2d
         at 1260); Sierra Club Sept. 25, 2023 Comments on EA at 21-24 (citing recent examples
         of pipelines that obtained NGPA section 311 service within a year of initially providing
         intrastate service).
                73
                     15 U.S.C. § 717(b).
                74
                     Id. § 3301(16).
                75
                     Three Rivers Pipeline Co., 84 FERC ¶ 61,238, at 62,208 (1998).
                76
                  See TP Rehearing Order, 157 FERC ¶ 61,081 at P 8 (citing Comanche Trail
         Pipeline, LLC, 155 FERC ¶ 61,182, at P 18 (2016)).
                77
                  See Big Bend Conservation All. v. FERC, 896 F.3d 418 (D.C. Cir. 2018) (Big
         Bend) (holding that an upstream pipeline transporting intrastate natural gas to a border
         crossing facility is not subject to the Commission’s jurisdiction under NGA section 7).
                78
                     Valley Crossing, 161 FERC ¶ 61,084.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780             Filed: 06/13/2024      Page 24 of 83
         Docket No. CP23-29-000                                                                 - 15 -

         interconnection with an interstate pipeline is not sufficient to bring an intrastate pipeline
         under the Commission’s jurisdiction, since being capable of receiving interstate gas is not
         the same as actually receiving it” and the record demonstrated that the pipeline would be
         located entirely in Texas and transport only Texas-produced gas when it began service.79

                Sierra Club attempts to distinguish the Connector Pipeline from the D.C. Circuit’s
         decision in Big Bend, which Sierra Club states found that the pipeline at issue was
         non-jurisdictional because it would not connect to the Waha Hub.80 Although the
         pipeline at issue in Big Bend did not connect to an intrastate pipeline at the Waha Hub,
         such a distinction is immaterial. As explained above, the determining factor is the source
         of the gas, and, as in Valley Crossing, Saguaro has demonstrated that the Connector
         Pipeline will initiate service transporting only natural gas produced in Texas.81

                 Further, we disagree with Sierra Club’s contention that Saguaro is using NGPA
         section 311 to avoid the Commission’s NGA jurisdiction. As the Commission has
         previously explained, we look to whether the pipeline plans to operate solely as an
         intrastate pipeline when it begins service and do not consider the number of potential
         interconnections with interstate pipelines.82 Nor are we persuaded by Sierra Club’s
         assertion that the commingling of interstate and intrastate natural gas on an upstream
         intrastate pipeline renders the downstream intrastate pipeline jurisdictional. As we have
         explained, “NGPA [s]ection 601(a)(2)(B) insulates the otherwise intrastate activities of
         any person from becoming jurisdictional activities by reason of, or with respect to, that

                79
                   Id. PP 16-19; see also TP Rehearing Order, 157 FERC ¶ 61,081 at PP 7-9
         (explaining that intervenors incorrectly assumed Texas intrastate pipeline’s termination
         near the Waha Hub meant the pipeline would necessarily transport comingled interstate
         gas, which was rebutted by the record); Saguaro Feb. 24, 2023 Answer at 6 (explaining
         that a pipeline does not transport gas in interstate commerce “simply because [it]
         transports gas from the Waha Hub”).
                80
                  Sierra Club Jan. 26, 2023 Protest at 7; Sierra Club Sept. 25, 2023 Comments on
         EA at 14.
                81
                   Saguaro Feb. 24, 2023 Answer at 12 (explaining that, at the start of service, all
         gas flowing through the Connector Pipeline will be “produced in Texas and . . .
         transported in intrastate commerce”); Saguaro Application at 5 (stating that the
         Connector Pipeline will “tie into the existing WesTex intrastate natural gas pipeline”);
         Saguaro Oct. 27, 2023 Response to Data Request at App. A (noting eight potential
         upstream sources of intrastate gas totaling up to five billion cubic feet per day for
         delivery to the Connector Pipeline).
                82
                  Parker v. Permian Highway Pipeline LLC, 180 FERC ¶ 61,179, at P 11 (2022)
         (citing Valley Crossing, 161 FERC ¶ 61,084 at PP 22-23).
Document Accession #: 20240215-3066              Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780            Filed: 06/13/2024     Page 25 of 83
         Docket No. CP23-29-000                                                                  - 16 -

         person’s participation in an NGPA Section 311(a) transaction.”83 Therefore, “an
         interstate pipeline could transport gas between two points within the same state for an
         intrastate pipeline without the commingling of molecules rendering the intrastate pipeline
         jurisdictional.”84 Sierra Club further argues that Big Bend held that the Commission may
         only authorize “existing” intrastate pipelines under section 311 of the NGPA.85 In that
         case, however, the court upheld the Commission’s longstanding practice of allowing new
         intrastate pipelines to provide section 311 service after initially providing only intrastate
         service.86 Our action here is consistent with that holding.

                 Next, Sierra Club contends that Saguaro has failed to provide sufficient
         information regarding the Connector Pipeline’s potential interconnections with intrastate
         and interstate pipeline systems.87 It claims that, in response to Commission staff’s data
         request, Saguaro only references eight potential sources of intrastate gas and fails to
         describe any potential interconnections with interstate pipeline systems.88 Further,
         Sierra Club notes that Saguaro states that it has not entered into a precedent agreement
         for the upstream intrastate pipeline.89 Sierra Club asserts that the Commission has an
         obligation to verify the information submitted by an applicant and cannot blindly accept
         the applicant’s statements.90

                 We find that the record includes sufficient information to support Saguaro’s
         assertion that, upon commencement of service, the Connector Pipeline will provide
         intrastate transportation service. Saguaro identified eight potential sources of intrastate
         natural gas, totaling 5 Bcf per day, which far exceeds the capacity of the proposed



                83
                     Delhi Gas Pipeline Corp., 19 FERC ¶ 61,189, at 61,366 (1982).
                84
                     Id.
                85
                     Sierra Club Jan. 26, 2023 Protest at 8.
                86
                  See Big Bend, 896 F.3d at 423 (explaining how the Trans-Pecos pipeline
         comported “with FERC precedent recognizing that new intrastate pipelines may provide
         Section 311 service after being placed into service”) (citations omitted).
                87
                     Sierra Club Nov. 13, 2023 Supplemental Comments at 7-9.
                88
                     Id. at 7.
                89
                     Id. at 10.
                90
                     Id. at 12-13.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780          Filed: 06/13/2024     Page 26 of 83
         Docket No. CP23-29-000                                                                - 17 -

         pipeline.91 Moreover, as noted above, even if Saguaro were to immediately establish a
         physical interconnection with an interstate pipeline, that would not be sufficient to bring
         the Connector Pipeline under the Commission’s jurisdiction if the Connector Pipeline
         initially only flows intrastate gas. Sierra Club has speculated that the purpose of the
         Connector Pipeline is to transport interstate natural gas sources upon commencement of
         service, but Sierra Club has not provided sufficient evidence to support such claims or to
         rebut Saguaro’s demonstration that sufficient sources of intrastate gas are available to
         support the project and Saguaro’s statement that the project will initially only transport
         intrastate gas supplies.

                 Next, Sierra Club relies on Egan Hub Partners, L.P., where the Commission held
         that an existing intrastate pipeline’s contemplated use of storage facilities for NGPA
         section 311 service was subject to NGA jurisdiction.92 This case is distinguishable,
         however, because the storage facilities in question were not contiguous with Egan Hub’s
         existing intrastate system and were physically connected only to interstate pipelines. The
         Commission stated that the storage facilities appeared to have no intrastate or other
         non-jurisdictional purpose and found that Egan Hub’s “sole purpose in constructing the
         storage facilities was to provide interstate storage and hub services.”93 Here, Saguaro’s
         intrastate pipeline will interconnect with another intrastate pipeline and, upon being
         placed in service, will exclusively carry Texas-sourced gas.

                Additionally, Sierra Club cites Louisiana Gas and KansOk to support its claim that
         Saguaro is attempting to use the NGPA to circumvent the Commission’s NGA section 7
         jurisdiction.94 As discussed above, those cases are not relevant to this proceeding
         because there is no evidence in the record to show Saguaro is combining pipelines to
         circumvent the Commission’s NGA section 7(c) jurisdiction.

                Sierra Club also argues that, under CNG Transmission Corporation,95 the
         Commission subjects facilities that ultimately intend to engage in interstate commerce to
         its NGA section 7 jurisdiction. In that case, CNG leased natural gas storage from Bath
         Petroleum, a liquid hydrocarbon storage cavern company that agreed to convert existing
         storage caverns for natural gas and construct new gas storage caverns. CNG argued the

                91
                     Saguaro Oct. 27, 2023 Response to Data Request at app. A.
                92
                     73 FERC ¶ 61,334 (1995).
                93
                     Id. at 61,930.
                94
                  Sierra Club Jan. 26, 2023 Protest at 8-9; Sierra Club Sept. 25, 2023 Comments
         on EA at 22.
                95
                     79 FERC ¶ 61,295 (1997).
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780          Filed: 06/13/2024     Page 27 of 83
         Docket No. CP23-29-000                                                                - 18 -

         natural gas storage would remain non-jurisdictional because the caverns would not be
         used solely for interstate storage, as Bath Petroleum would continue to provide some
         non-jurisdictional liquid hydrocarbon storage activity.96 The Commission disagreed,
         explaining that although Bath Petroleum might originally have contemplated that its
         storage facilities would be used for a non-jurisdictional purpose, it was clear at the time
         of the rehearing order that “the parties contemplate providing interstate service through
         these facilities.”97 The Commission explained that its NGA section 7 jurisdiction is not
         limited when facilities that provide interstate service “may also have a non-jurisdictional
         use.”98

                 CNG Transmission Corporation is not applicable because that case did not
         contemplate service provided pursuant to section 311 of the NGPA, and, as discussed
         above, when determining whether an intrastate pipeline is properly providing section 311
         service, the Commission looks only to whether the pipeline plans to operate solely as an
         intrastate pipeline when it begins service.99 Thus, even if the Connector Pipeline will
         later provide transportation service pursuant to section 311 of the NGPA, such service
         would not subject the facility to the Commission’s NGA section 7 jurisdiction.100



                96
                     Id. at 62,325-26.
                97
                     Id. at 62,329.
                98
                     Id.
                99
                   The Commission’s grant of NGA section 3 authorization to transport intrastate
         gas internationally does not signal prospective approval of a future NGPA section 311
         filing. See Big Bend, 896 F.3d at 422-23 (explaining that the orders granting NGA
         section 3 authorization to the Trans-Pecos Pipeline “do not prospectively authorize the
         [pipeline] to transport natural gas under Section 311” but instead “simply observe that if
         the pipeline someday provides qualifying service under Section 311, that service will not
         subject the pipeline to Section 7” (emphasis in original)).
                100
                     Valley Crossing, 161 FERC ¶ 61,084 at P 2; TP Rehearing Order, 157 FERC
         ¶ 61,081 at P 11; see 15 U.S.C. § 3431(a)(2)(A) (“For purposes of section 1(b) of the
         Natural Gas Act, the provisions of such Act and the jurisdiction of the Commission under
         such Act shall not apply to any transportation in interstate commerce of natural gas if
         such transportation is … (ii) authorized by the Commission under section 3371(a) of this
         title.”); see also 15 U.S.C. § 3431(a)(1)(C) (“For purposes of the Natural Gas Act, the
         term ‘natural-gas company’ (as defined in section 2(6) of such Act) shall not include any
         person by reason of, or with respect to, any sale of natural gas if the provisions of the
         Natural Gas Act and the jurisdiction of the Commission do not apply to such sale solely
         by reason of subparagraph (A) or (B) of this paragraph.”); 18 C.F.R. § 284.3(c) (2023)
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780             Filed: 06/13/2024      Page 28 of 83
         Docket No. CP23-29-000                                                                   - 19 -

                Last, commenters assert that the Railroad Commission of Texas lacks jurisdiction
         over the siting of an intrastate pipeline that delivers gas for export.101 They assert that if
         the Commission fails to take jurisdiction over the Connector Pipeline, then no entity
         would have oversight over the environmental impacts of constructing the pipeline or the
         use of eminent domain.102 As the court explained in ExxonMobil Gas Marketing
         Company v. FERC, the “need for regulation cannot alone create authority to regulate,”
         and “jurisdiction may not be presumed based solely on the fact that there is not an
         express withholding of jurisdiction.”103 As discussed above, we find that the Connector
         Pipeline is an intrastate pipeline not subject to the Commission’s jurisdiction under the
         NGA. The fact that the Railroad Commission of Texas does not regulate the siting of
         such pipelines does not vest the Commission with additional authority.104 We note that
         federal and state laws protecting environmental, cultural, and other resources will apply
         to the Connector Pipeline even without centralized oversight by the Railroad
         Commission.105

                C.       Environmental Analysis

                On February 3, 2023, the Commission issued a Notice of Scoping Period
         Requesting Comments on Environmental Issues for the Proposed Border Facilities
         Project (Notice of Scoping), establishing a 30-day public scoping period. The Notice of
         Scoping was published in the Federal Register on February 9, 2023,106 and mailed to
         interested stakeholders including federal, state, and local officials; agency
         representatives; environmental and public interest groups; Native American Tribes;
         potentially affected landowners; local libraries; and newspapers.



         (“The Natural Gas Act shall not apply to facilities utilized solely for transportation
         authorized by section 311(a) of the NGPA.”).
                101
                      See, e.g., Property Rights and Pipeline Center Nov. 13, 2023 Comments.
                102
                   See, e.g. id; Property Rights and Pipeline Center Nov. 2, 2023 Comments; see
         also John Doe Nov. 13, 2023 Comments.
                103
                      ExxonMobil Gas Mktg. Co. v. FERC, 297 F.3d 1071, 1088 (D.C. Cir. 2002).
                104
                   With respect to the use of eminent domain, we note that section 3 of the NGA
         does not authorize Saguaro to acquire necessary land rights for the Border Facility via
         eminent domain. 15 U.S.C. 717b(a).
                105
                      See Saguaro Oct. 27, 2023 Response to Data Request at Appendix A.
                106
                      88 Fed. Reg. 8418 (Feb. 9, 2023).
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780           Filed: 06/13/2024    Page 29 of 83
         Docket No. CP23-29-000                                                              - 20 -

                 In response to the Notice of Scoping, the Commission received comments from
         the U.S. Environmental Protection Agency (EPA), Sierra Club, and six individuals. The
         primary issues raised during the scoping process included concerns about cultural
         resources, greenhouse gas emissions, environmental justice, air and water quality, public
         safety, flooding, property values, and the impacts of the upstream Connector Pipeline.

                On March 15, 2023, the Commission issued a Notice of Schedule for the
         Preparation of an Environmental Assessment for the Border Facilities Project. The
         notice was published in the Federal Register on March 22, 2023,107 and mailed to
         stakeholders on the project’s environmental mailing list.

                  To satisfy the requirements of the National Environmental Policy Act of 1969
         (NEPA),108 Commission staff prepared an Environmental Assessment (EA) for Saguaro’s
         proposal, which was issued on August 25, 2023. The notice of availability of the EA,
         which was published in the Federal Register109 and mailed to the environmental mailing
         list, established a 30-day comment period. The analysis in the EA addresses geology,
         soils, water resources, wetlands, vegetation, fisheries, wildlife, threatened and
         endangered species, land use, recreation, visual resources, environmental justice,110
         cultural resources, air quality, noise, safety, cumulative impacts, and alternatives. All
         substantive environmental comments received in response to the Notice of Scoping were
         addressed in the EA.

                In response to the EA, the Commission received comments from the EPA,
         Sierra Club, the Pipeline Rights and Pipeline Center,111 Juan Mancias on behalf of
         Carrizo Comecrudo Tribe of Texas, and several individuals. The comments included

               107
                     88 Fed. Reg. 17,208 (Mar. 22, 2023).
               108
                   42 U.S.C. §§ 4321 et seq. See also 18 C.F.R. pt. 380 (2023) (Commission’s
         regulations implementing NEPA).
               109
                     88 Fed. Reg. 60,199 (Aug. 31, 2023).
               110
                  Under NEPA, the Commission considers impacts to all potentially affected
         communities. Consistent with Executive Order 12,898 and Executive Order 14,008, the
         Commission separately identifies and addresses “disproportionately high and adverse
         human health or environmental effects” on environmental justice communities. Exec.
         Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 11, 1994); Exec. Order No. 14,008,
         86 Fed. Reg. 7619 (Jan. 27, 2021). See infra PP 89-102.
               111
                   The Pipeline Rights and Pipeline Center filed comments on the EA on
         September 25, 2023, November 2, 2023, and November 13, 2023, and included letters
         from individuals in Texas and New Mexico.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024     Page 30 of 83
         Docket No. CP23-29-000                                                                 - 21 -

         concerns regarding the EA’s stated purpose and need, environmental justice, impacts to
         endangered species, climate change and GHG emissions, impacts on water resources,
         pipeline safety, Tribal consultation, impacts on cultural resources, cumulative impacts,
         and alternatives. Saguaro and MPL filed reply comments. The comments are addressed
         below.

                After Commission staff issued the Notice of Scoping, Congress enacted the
         Fiscal Responsibility Act of 2023.112 A section titled “Builder Act” amended NEPA in
         several ways.113 NEPA section 102(C), as amended, requires that agencies prepare
         NEPA documents on:

                        (i) reasonably foreseeable environmental effects of the proposed agency
                        action;

                        (ii) any reasonably foreseeable adverse environmental effects which cannot
                        be avoided should the proposal be implemented;

                        (iii) a reasonable range of alternatives to the proposed agency action,
                        including an analysis of any negative environmental impacts of not
                        implementing the proposed agency action in the case of a no action
                        alternative, that are technically and economically feasible, and meet the
                        purpose and need of the proposal;

                        (iv) the relationship between local short-term uses of man’s environment
                        and the maintenance and enhancement of long-term productivity; and

                        (v) any irreversible and irretrievable commitments of Federal resources
                        which would be involved in the proposed agency action should it be
                        implemented.114




               112
                   See FISCAL RESPONSIBILITY ACT OF 2023, PL 118-5, 137 Stat 10
         (June 3, 2023). The Commission relied on the Fiscal Responsibility Act of 2023 in a
         recent order. See Mountain Valley Pipeline, LLC, 183 FERC ¶ 61,221, at PP 7, 9, 11
         n.20 (2023).
               113
                    See FISCAL RESPONSIBILITY ACT OF 2023, PL 118-5, 137 Stat 10,
         at § 321 (June 3, 2023) (providing the “Builder Act”).
               114
                     42 U.S.C. § 4332(c)(i).
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024     Page 31 of 83
         Docket No. CP23-29-000                                                                - 22 -

                 The Commission has complied with its NEPA responsibilities under both versions
         of the statute.115

                         1.     Inadequate Comment Period

                Sierra Club requested an extension of the EA’s 30-day comment period.116 It is
         the Commission’s practice to consider all comments filed in natural gas infrastructure
         proceedings, even those filed after established deadlines, to the extent practicable without
         delaying Commission action. This order addresses comments that were filed well after
         the close of the comment period, and we therefore find no reason to extend it.

                         2.     Connected Actions

                 Sierra Club asserts that the Commission’s approval of the Border Facility and
         DOE’s approval of MPL’s application to export natural gas are connected actions that the
         Commission should evaluate in an environmental impact statement (EIS).117 It contends
         that the EIS should evaluate all connected federal actions and include an analysis of the
         upstream and downstream GHG emissions associated with the projects, effects on
         waterbodies from potential inadvertent releases, and effects on federally listed
         endangered and threatened species.118

                Actions are “connected” for the purpose of NEPA review if they:
         (1) automatically trigger other actions that may require environmental impact statements;
         (2) cannot or will not proceed unless other actions are taken previously or
         simultaneously; or (3) are interdependent parts of a larger action and depend on the larger


                115
                  We note that the Council on Environmental Quality published a Notice of
         Proposed Rulemaking to revise its regulations implementing NEPA, including to
         implement the Builder Act amendments. 88 Fed. Reg. 49,924 (July 31, 2023). The
         Commission will monitor this proceeding to inform the Commission’s practices going
         forward.
                116
                   Sierra Club Sept. 25, 2023 Motion to for Extension of Comment Deadline; see
         Antionette Reyes Sept. 26, 2023 Comments on EA (requesting an extension of the
         comment period); Pipeline Rights and Pipeline Center Sept. 25, 2023 Comments on EA
         (same).
                117
                   Sierra Club Jan. 26, 2023 Protest at 10; Sierra Club Sept. 25, 2023 Comments
         on EA at 28-30 (citing 40 C.F.R. § 1501.9(e) (2023), Del. Riverkeeper, 753 F.3d 1304,
         and City of Boston Delegation v. FERC, 897 F.3d 241 (D.C. Cir. 2018)).
                118
                      Sierra Club Sept. 25, 2023 Comments on EA at 30-31.
Document Accession #: 20240215-3066               Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780           Filed: 06/13/2024     Page 32 of 83
         Docket No. CP23-29-000                                                                  - 23 -

         action for their justification.119 An agency is required to consider “connected actions” in
         a single environmental document to prevent the agency from “dividing one project into
         multiple individual actions” with less significant environmental effects.120 The proposal
         before the Commission is to site, construct, and operate the Border Facility. The export
         of natural gas to the MPL facility, and the subsequent re-export of that natural gas, were
         proposed before DOE, not the Commission. Therefore, because “[DOE], not the
         Commission, has [the] sole authority to license the export of any natural gas going
         through the facilities,”121 we disagree that any of the connected action factors apply in
         this case.122

               Moreover, MPL explains that the authorization of gas exports to its facility is not
         dependent on approval of Saguaro’s project. MPL notes that it expects that Saguaro’s


                119
                      40 C.F.R. § 1501.9(e)(1)(i)-(iii).
                120
                    Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1326
         (D.C. Cir. 2015) (upholding the Commission’s determination that, although a
         Dominion-owned pipeline project’s excess capacity may be used to move gas to the
         Cove Point terminal for export, the projects are “unrelated” for purposes of NEPA)
         (citation omitted); see City of W. Chicago, Ill. v. U.S. Nuclear Regul. Comm’n, 701 F.2d
         632, 650 (7th Cir. 1983) (“‘Piecemealing’ or ‘segmentation’ allows an agency to avoid
         the NEPA requirement that an EIS be prepared for all major federal action with
         significant environmental impacts by segmenting an overall plan into smaller parts
         involving action with less significant environmental effects.”) (citing City of Rochester v.
         U.S. Postal Serv., 541 F.2d 967, 972 (2d Cir. 1976)); see also Columbia Gulf
         Transmission, LLC, 180 FERC ¶ 61,206, at PP 21, 83 (2022); Tenn. Gas Pipeline Co.,
         L.L.C., 180 FERC ¶ 61,205, at PP 30, 67 (2022).
                121
                    Freeport, 827 F.3d at 47 (“[T]he Commission’s NEPA analysis did not have to
         address the indirect effects of the anticipated export of natural gas.”) (discussing Dep’t of
         Transp. v. Pub. Citizen, 541 U.S. 752 (2004)); see also Alaska LNG, 67 F.4th at 1185
         (stating that the Commission’s “lack of jurisdiction over export approvals also means it
         has no NEPA obligation stemming from the effects of export-bound gas” and that the
         Commission is “forbidden to rely on the effects of gas exports as a justification for
         denying permission to an LNG project”) (cleaned up); Columbia Gulf Transmission,
         LLC, 180 FERC ¶ 61,206 at PP 21, 83; Tenn. Gas Pipeline Co., L.L.C., 180 FERC
         ¶ 61,205 at PP 30, 67.
                122
                   See, e.g., Commonwealth LNG, 181 FERC ¶ 61,143 at PP 78-80, order on
         reh’g, 183 FERC ¶ 61,173, at PP 42-44 (2023) (explaining why DOE’s approval of gas
         exports from LNG terminal was not a connected action with the Commission’s approval
         of the LNG terminal’s siting).
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780          Filed: 06/13/2024     Page 33 of 83
         Docket No. CP23-29-000                                                               - 24 -

         project would be one of several border-crossing pipelines MPL could use to move gas to
         the export facility. Having already obtained authorization from DOE to re-export
         1046.57 Bcf/year of natural gas to free-trade nations and 621 Bcf/year to non-free trade
         agreement nations,123 MPL may obtain gas via any transboundary pipeline currently in
         operation or that will become operational in the future.124 Therefore, the Saguaro project
         does not depend on MPL obtaining a DOE authorization to re-export additional volumes
         to non-free trade agreement nations. Accordingly, our authorization of the project does
         not automatically trigger another action that may require an environmental impact
         statement, there is no showing that the project cannot or will not proceed unless other
         actions are taken previously or simultaneously, and the project is not an interdependent
         part of a larger action that depends on the larger action for its justification.125

                Next, Sierra Club claims that the upstream pipeline and Border Facility are
         interdependent connected actions. Sierra Club asserts that the D.C. Circuit’s decision in
         Sierra Club v. U.S. Army Corps of Engineers,126 which “suggested that the connected
         action regulation applied only to areas within federal jurisdiction” is an outlier that
         “conflicts with decades of NEPA precedent.”127 Sierra Club argues that the court in
         Flanagan South distinguished between crude oil pipelines, which do not require a federal
         agency to find the project is in the public interest, and the holding in Delaware
         Riverkeeper Network v. FERC, where the court held that the Commission impermissibly


                123
                    See Mexico Pacific Limited, LLC, DOE/FE Order No. 4248, Docket
         No. 18-70-LNG (Sept. 19, 2018) (authorizing the re-export of up to 621 Bcf/year of gas
         to free trade nations); DOE/FE Order No. 4312, Docket No. 18-70 LNG (Dec. 14, 2018)
         (authorizing re-export of the same volume to non-free trade nations); Mexico Pacific
         Limited, LLC, DOE/FE Order No. 4995, Docket No. 22-167-LNG (Apr. 28, 2023)
         (authorizing the export to Mexico and re-export of an additional 291.22 Bcf/year of
         U.S.-sourced gas to free-trade nations, and deciding to address MPL’s requested
         authorization to re-export the additional capacity to non-free trade nations in a future
         order).
                124
                      MPL Oct.17, 2023 Answer at 6-8.
                125
                      See e.g., Commonwealth LNG, 183 ¶ 61,173 at PP 43-44.
                126
                      803 F.3d 31 (D.C. Cir. 2015) (Flanagan South).
                127
                   Sierra Club Sept. 25, 2023 Comments on EA at 31 (citing White Tanks
         Concerned Citizens, Inc. v. Strock, 563 F.3d 1033, 1041-42 (9th Cir. 2009); Save Our
         Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1122-23 (9th Cir. 2005) (same); Sierra Club v.
         Mainella, 459 F. Supp. 2d 76, 105 (D.D.C. 2006); Hammond v. Norton, 370 F. Supp. 2d
         226, 244 (D.D.C. 2005)).
Document Accession #: 20240215-3066                Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780             Filed: 06/13/2024   Page 34 of 83
         Docket No. CP23-29-000                                                                - 25 -

         segmented portions of a pipeline that required NGA section 7 approval.128 According to
         Sierra Club, this means that the Connector Pipeline and Border Facility are
         interdependent and resemble the facilities in Delaware Riverkeeper more than the oil
         pipeline in Flanagan South.129 Sierra Club also states, without citation, that the Council
         on Environmental Quality (CEQ) recently amended its scoping regulations in a way that
         did not limit its definition of connected actions to areas within federal control.130

                Contrary to Sierra Club’s assertion, the D.C. Circuit held in Big Bend, which also
         involved a border crossing facility and non-jurisdictional upstream pipeline, that “[t]he
         connected-actions doctrine does not require the aggregation of federal and non-federal
         actions.”131 Rather, even where separate pipeline segments are physically, functionally,
         and financially connected, the “key point [is] that the bulk [is] not subject to federal
         jurisdiction.”132 The court in Big Bend rejected petitioners’ reliance on Delaware
         Riverkeeper because unlike that case, where the entire pipeline was subject to NGA
         section 7 jurisdiction, in Big Bend, only the export facility was subject to federal
         jurisdiction.133 Here, too, only the export facility is subject to the Commission’s
         jurisdiction while the upstream pipeline is “outside the scope of geographically limited
         federal actions.”134 Thus, the connected-actions regulation does not apply.

                            3.   Environmental Effects of the Connector Pipeline

                Notwithstanding the lack of connected federal actions, Sierra Club asserts that,
         under the four-factor-test set out in Algonquin Gas Transmission Co.,135 the Commission
         should evaluate the environmental effects of the Connector Pipeline.136 Under the

                128
                  Sierra Club Sept. 25, 2023 Comments on EA at 31 ((citing Del. Riverkeeper
         Network v. FERC, 753 F.3d at 1313).
                129
                      Id. at 31-32.
                130
                      Id.
                131
                      Big Bend, 896 F.3d at 424.
                132
                      Id. (citing Flanagan South, 803 F.3d at 49-50).
                133
                      Id.
                134
                      Id. (internal citations and quotation marks omitted).
                135
                      59 FERC ¶ 61,255, at 61,934 (1992) (Algonquin).
                136
                  Sierra Club Sept. 25, 2023 Comments on EA at 33 (citing 40 C.F.R.
         § 1580.1(g)(2)-(3)); Sierra Club Nov. 13, 2023 Supplemental Comments at 16-17
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780          Filed: 06/13/2024      Page 35 of 83
         Docket No. CP23-29-000                                                                 - 26 -

         four-factor test, to determine whether there is sufficient federal control over a project to
         require environmental analysis, the Commission considers: (i) whether or not the
         regulated activity comprises “merely a link” in a corridor type project (e.g., a
         transportation or utility transmission project); (ii) whether there are aspects of the
         non-jurisdictional facility in the immediate vicinity of the regulated activity that uniquely
         determine the location and configuration of the regulated activity; (iii) the extent to which
         the entire project will be within the Commission’s jurisdiction; and (iv) the extent of
         cumulative federal control and responsibility.137 As explained below, the pertinent
         factors weigh against a finding that the Commission must consider the direct effects of
         the Connector Pipeline as part of its authorization of the Border Facility under NEPA.

                With respect to factor (i), Sierra Club acknowledges that Saguaro’s project is a
         corridor-type project but avers that the Commission’s approval of the Border Facility is
         the “most important” of the required federal approvals and not merely a link in a
         corridor-type project.138 Sierra Club notes that the U.S. Department of State evaluates
         presidential permits for oil pipelines by determining whether the project would serve the
         “national interest,” including non-federal components; thus, the Commission should do
         the same by including the Connector Pipeline in its NEPA analysis.139 However, the
         Commission has consistently determined that, for border-crossing facilities,
         import/export facilities are merely a link between two non-jurisdictional facilities. 140
         Here, those include the upstream Connector Pipeline and the downstream pipeline in
         Mexico.

                Regarding factor (ii), Sierra Club argues that the location of the “non-federal”
         portions of the pipeline—i.e., the eventual interconnecting pipeline in Mexico and the
         Connector Pipeline—determined the location of the Border Facility.141 Although the
         Border Facility will interconnect with the Connector Pipeline, its design and location




         (contending that the Railroad Commission of Texas’ limited review requires that the
         Commission step in to fully analyze the Connector Pipeline’s impacts).
                137
                      Algonquin, 59 FERC at 61,934.
                138
                      Sierra Club Sept. 25, 2023 Comments on EA at 34.
                139
                      Id. at 34-35.
                140
                      See, e.g., Trans-Pecos, 155 FERC ¶ 61,140 at P 33.
                141
                      Sierra Club Sept. 25, 2023 Comments on EA at 35.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780           Filed: 06/13/2024      Page 36 of 83
         Docket No. CP23-29-000                                                                   - 27 -

         were determined based on the downstream interconnect location outside United States
         jurisdiction, not based on the Connector Pipeline location.142

                With respect to factor (iii), Sierra Club points to its arguments about the
         Commission’s jurisdiction under NGA sections 3 and 7 that we rejected above.143 The
         non-jurisdictional Connector Pipeline constitutes a much more significant portion of the
         overall facilities than the 1,000-foot Border Facility, and, as stated above, the
         Commission has no authority over the permitting, licensing, funding, construction, or
         operation of the upstream pipeline.144

                Last, with respect to factor (iv), Sierra Club states that because various aspects of
         the Connector Pipeline come under the jurisdiction of several federal agencies the
         Commission should pursue a broad NEPA review.145 Cumulative federal control is
         determined by the amount of federal financing, assistance, direction, regulation, or
         approval inherent in a project.146 Here, the extent of cumulative federal control and
         responsibility over the Connector Pipeline is limited. The upstream pipeline will be
         owned by Saguaro with no federal financial involvement and no federal lands are crossed
         by the project.147 Saguaro is responsible for obtaining any federal permits required to
         construct the pipeline, including obtaining any stream-crossing permits from the U.S.
         Army Corps of Engineers (Corps) and consulting with the U.S. Fish and Wildlife Service
         (FWS) for compliance with the Endangered Species Act. In Texas, the regulation of gas
         pipeline services and safety falls under the jurisdiction of the Railroad Commission of
         Texas. Thus, cumulative federal control is minimal and does not warrant extending the
         Commission’s environmental review.148

                In view of the considerations above, we are not compelled to consider the
         upstream intrastate pipeline as part of our action authorizing the Border Facility for

                142
                 EA at 15, 62; Saguaro Feb. 24, 2023 Reply Comments at 14; see Trans-Pecos,
         155 FERC ¶ 61,140 at P 33.
                143
                      Sierra Club Sept. 25, 2023 Comments on EA at 35.
                144
                      See, e.g., Trans-Pecos, 155 FERC ¶ 61,140 at P 33.
                145
                      Sierra Club Sept. 25, 2023 Comments on EA at 35-36.
                146
                   Algonquin, 59 FERC ¶ 61,255 at 61,935; Impulsora Pipeline, LLC, 153 FERC
         ¶ 61,204, at P 24 (2015).
                147
                      EA at 70.
                148
                      See Trans-Pecos, 155 FERC ¶ 61,140 at P 34.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780           Filed: 06/13/2024      Page 37 of 83
         Docket No. CP23-29-000                                                                   - 28 -

         purposes of our NEPA review. Moreover, the EA analyzes the cumulative and indirect
         impacts of the intrastate pipeline149 and we find that this analysis was sufficient to satisfy
         our NEPA responsibility for the authorized action.

                          4.     Purpose and Need

                Sierra Club avers that the EA’s statement of purpose and need is narrower than the
         applicant’s project description, and thus “forecloses consideration of reasonable
         alternatives and frustrates public participation.”150 It contends that the Commission lacks
         sufficient information about the upstream supply of natural gas, the downstream demand
         for natural gas, and the identity of the interconnecting pipeline and LNG facility in
         Mexico. As a result, Sierra Club argues that the EA fails to adequately consider
         alternatives to the proposed project.151

                Sierra Club is incorrect that the EA states the project purpose as only “to site,
         construct, connect, operate, and maintain a new International Boundary crossing between
         the U.S. and Mexico located in Hudspeth County, Texas.” Sierra Club has truncated the
         EA’s statement of the project’s purpose and need, which is the same as the applicant’s
         description,152 and then goes on to state that the project will “supply a new natural gas
         export facility under development on the West Coast of Mexico.”153 With respect to
         project need, Sierra Club repeats its assertions that there are inadequate supplies of
         natural gas available to transport on the project and that the demand for natural gas in

                149
                   See EA at 49-50 (discussing cumulative impacts on geology and soils), 50-51
         (discussing cumulative impacts on water resources), 51-53 (discussing cumulative
         impacts on fish and aquatic species, vegetation, and wildlife), 53-54 (discussing
         cumulative impacts on land use and visual resources), 54-55 (discussing cumulative
         impacts on environmental justice and air quality and noise), 55-60 (discussing cumulative
         impacts on climate change).
                150
                      Sierra Club Sept. 25. 2023 Comments on EA at 36.
                151
                      Id. at 36-42.
                152
                    See Saguaro Application at Resource Report 1-2 (“The purpose of the Project is
         to site, construct, connect, operate, and maintain a new International Boundary crossing
         between the U.S. and Mexico located in Hudspeth County, Texas, as more fully
         described herein. Saguaro is developing the Project to connect its intrastate natural gas
         transmission pipeline and related facilities—originating near the Waha Hub in Pecos
         County, Texas—with downstream facilities located in Mexico through the Border
         Facilities at the International Boundary crossing.”).
                153
                      EA at 2.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024      Page 38 of 83
         Docket No. CP23-29-000                                                                 - 29 -

         Mexico can be met by other border-crossing pipelines.154 As discussed above, Saguaro
         has identified eight potential upstream sources of intrastate gas totaling up to five billion
         cubic feet per day accessible for ultimate delivery to the Border Facility. Additionally,
         MPL, the developer of the downstream LNG export facility in Mexico, has stated that the
         Saguaro project will significantly expand the options available to MPL and its
         customers.155

                 Next, Sierra Club argues that Saguaro is “attempting to amend the project’s
         purpose and need” by stating for the first time in an October 27, 2023 response to a data
         request that some portion of the gas could meet gas demand in Mexico, as opposed to
         supplying the MPL export facility.156 According to Sierra Club, this means a
         supplemental environmental analysis is necessary to evaluate the project’s “new” purpose
         and need, the Commission’s public interest finding, foreseeable impacts, and
         alternatives.157 We disagree. Contrary to Sierra Club’s assertion, Saguaro previously
         stated that some of the natural gas transported by the project could be used for domestic
         consumption in Mexico.158 In any event, as discussed above, issues related to the
         consumption of gas in Mexico, or any other foreign country, are relevant only to the
         exportation of the commodity of natural gas, which is within DOE’s exclusive
         jurisdiction and are not implicated by our limited action of reviewing the proposed
         border-crossing facilities.159 Therefore, we decline to prepare a supplemental
         environmental document on these grounds.




                154
                      Sierra Club Sept. 25. 2023 Comments on EA at 38.
                155
                      MPL Oct. 17, 2023 Reply Comments at 8.
                156
                      Sierra Club Nov. 13, 2023 Supplemental Comments at 3-5
                157
                      Id.
                158
                  Saguaro Feb. 24, 2023 Answer at 17-18 n. 62 (“The downstream pipeline in
         Mexico could deliver to points other than the LNG facility.”).
                159
                   See, e.g., Cameron LNG, LLC, 182 FERC ¶ 61,173, at P 13 (declining to
         address economic arguments); Valley Crossing, 161 FERC ¶ 61,084 at P 12 (same);
         Trans-Pecos, 155 FERC ¶ 61,140 at PP 14-15 (explaining why commenters’ arguments
         that proposed border-crossing facilities would exceed demand by customers in Mexico
         are not under the Commission’s purview) (citing National Steel Corp., 45 FERC
         at 61,332-61,333).
Document Accession #: 20240215-3066                Filed Date: 02/15/2024
        USCA Case #24-1199              Document #2059780         Filed: 06/13/2024    Page 39 of 83
         Docket No. CP23-29-000                                                                - 30 -

                          5.        Alternatives

                Sierra Club argues that the EA fails to appropriately consider both the use of
         existing border-crossing pipelines to substitute for the transportation capacity that would
         be created by the project and also the use of alternative locations for the proposed Border
         Facility.160

                NEPA provides that agencies include “a detailed statement” of “a reasonable
         range of alternatives to the proposed agency action, including an analysis of any negative
         environmental impacts of not implementing the proposed agency action in the case of a
         no action alternative, that are technically and economically feasible, and meet the purpose
         and need of the proposal.”161 An applicant’s statement of purpose and need informs the
         choice of alternatives considered by the Commission under NEPA.162 Courts have
         upheld federal agencies’ use of applicants’ project purpose and need in environmental
         documents and as the basis for evaluating alternatives.163 When an agency is asked to
         consider a specific proposal, the needs and goals of the parties involved in the application
         should be taken into account.164

                 We recognize that a project’s purpose and need may not be so narrowly defined as
         to preclude consideration of reasonable alternatives. Nonetheless, an agency need only
         consider alternatives that will bring about the ends of the proposed action, and the
         evaluation is “shaped by the application at issue and by the function that the agency plays
         in the decisional process.”165 Moreover, because the alternatives considered under NEPA


                160
                      Sierra Club Sept. 25, 2023 Comments on EA at 42-54.
                161
                      42 U.S.C. § 4332(c)(iii).
                162
                   CEQ advises that “a reasonable range of alternatives depends on the nature of
         the proposal and the facts in each case.” CEQ, Forty Most Asked Questions Concerning
         CEQ’s National Environmental Policy Act Regulations, 46 Fed. Reg. 18,026, 18,027
         (1981).
                163
                   E.g., City of Grapevine v. U.S. Dep’t of Transp., 17 F.3d 1502, 1506 (D.C.
         Cir. 1994); Citizens Against Burlington, Inc. v. Busey, 938 F.2d 190, 199 (D.C. Cir. 1991)
         (Citizens Against Burlington) (explaining that the evaluation of alternatives is “shaped by
         the application at issue and by the function that the agency plays in the decisional
         process.”).
                164
                      Citizens Against Burlington, 938 F.2d at 196.
                165
                      Id. at 199.
Document Accession #: 20240215-3066              Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780             Filed: 06/13/2024      Page 40 of 83
         Docket No. CP23-29-000                                                                    - 31 -

         are informed both by “the project sponsor’s goals,” 166 as well as “the goals that Congress
         has set for the agency,”167 i.e., the goals set in enacting the NGA, the Commission’s
         consideration of alternatives includes the no-action alternative and alternatives that
         achieve the purpose of the project.

                 First, Sierra Club claims that existing border-crossing pipelines could supply
         MPL’s full export volume, potentially rendering the Saguaro project “superfluous,” and
         that the Commission failed to independently consider whether other border-crossing
         pipelines could fulfill the project’s purpose and need.168 An agency may eliminate those
         alternatives that will not achieve a project’s goals or which cannot be carried out because
         they are too speculative, infeasible, or impractical.169 The purpose of Saguaro’s project is
         to interconnect two non-jurisdictional pipelines at the U.S.-Mexico border to transport
         gas to supply a new LNG facility under development on the West Coast of Mexico. As
         MPL states in its comments, the proposed project would significantly expand the options
         available to MPL and its customers to supply natural gas to its terminal.170 Sierra Club
         provides insufficient evidence that existing border-crossing pipelines can provide MPL
         and its customers similar flexibility.171 Because the proposed system alternative would
         not achieve the project’s aims, the EA appropriately eliminated the alternative.




                166
                      Id. at 196.
                167
                      Sierra Club v. U.S. Forest Serv., 897 F.3d 582, 598-99 (4th Cir. 2018).
                168
                      Sierra Club Sept. 25, 2023 Comments on EA at 39-41, 50-51.
                169
                    See Alaska LNG, 67 F.4th at 1182 (recognizing that agencies may reject
         alternatives that will be impractical or fail to further the proposed action’s purpose after
         only brief discussion); Fuel Safe Wash. V. FERC, 389 F.3d 1313, 1323 (10th Cir. 2004)
         (stating that the Commission need not analyze “the environmental consequences of
         alternatives it has in good faith rejected as too remote, speculative, or . . . impractical or
         ineffective.”) (quoting All Indian Pueblo Council v. U. S., 975 F.2d 1437, 1444
         (10th Cir. 1992) (internal quotation marks omitted)); Nat. Res. Def. Council, Inc. v.
         Morton, 458 F.2d 827, 837-38 (D.C. Cir. 1972) (same); see also Nat’l Wildlife Fed’n v.
         FERC, 912 F.2d 1471, 1485 (D.C. Cir. 1990) (stating that “NEPA does not require
         detailed discussion of the environmental effects of remote and speculative alternatives”)
         (citation omitted).
                170
                      MPL Oct. 17, 2023 Reply Comments at 8.
                171
                   Sierra Club Sept. 25, 2023 Comments on EA at 44-45, 50-51 (noting other
         border-crossing pipelines with “potential availability” for additional gas transportation
Document Accession #: 20240215-3066              Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780            Filed: 06/13/2024     Page 41 of 83
         Docket No. CP23-29-000                                                                  - 32 -

                 Next, Sierra Club contends that the EA failed to analyze alternative locations for
         the Border Facility. It asserts that the EA wrongly determines that the location of the
         facility is constrained by the upstream and downstream pipelines, noting that the EA does
         not include a construction schedule for the Connector Pipeline or information on the
         status of state and federal permitting processes.172 Sierra Club asserts that because the
         Railroad Commission of Texas lacks authority over the siting of the Connector Pipeline,
         the Commission could consider alternative locations.173 With respect to the
         interconnecting pipeline in Mexico, Sierra Club argues that the EA wrongly accepts
         Saguaro’s statement that the Border Facility’s location is constrained by the location of
         the pipeline in Mexico.174 It notes that the pipeline is pending authorization in Mexico
         and the Commission should not forgo obtaining additional information about the pipeline
         or allow foreign regulators to “dictate the location of a project in the United States.”175
         Sierra Club contends that by limiting the alternatives analysis, the EA fails to examine
         whether collocating the Border Facility at the sites of other border-crossing pipelines,
         utility crossings, and pipelines carrying other commodities, such as oil, would reduce
         impacts to environmentally and culturally sensitive areas in the Rio Grande River
         Basin.176

                The EA properly limits its alternatives discussion based on “the application at
         issue and . . . the function that the agency plays in the decisional process[,]”177 as the
         Commission has no authority over the siting or timing of the Connector Pipeline or the
         pipeline in Mexico. As explained in the EA, the location of the Border Facility was
         chosen to accommodate a specific interconnection location in Mexico that meets the
         project’s purpose.178 Given that the range of alternative locations for the crossing is



         that originate at or near the Waha Hub, including the Sierrita, Comanche, Roadrunner,
         and Trans-Pecos pipelines).
                172
                      Id. at 43-44.
                173
                      Id. at 43-44.
                174
                      Id. at 45.
                175
                      See id. at 46-48 (citing Sierra Club v. Watkins, 808 F. Supp. 852 (D.C. Cir.
         1991)).
                176
                      Id. at 50-52.
                177
                      Citizens Against Burlington, 938 F.2d at 199.
                178
                      EA at 15, 62.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780            Filed: 06/13/2024     Page 42 of 83
         Docket No. CP23-29-000                                                                   - 33 -

         constrained by the location of the Mexican facilities,179 the EA correctly did not identify
         another technically and economically feasible location or crossing. Further, because of
         the minimal level of impacts associated with the project as proposed, staff could not
         identify any alternatives that would “provide a significant environmental advantage” over
         the proposed project, while meeting the objectives of the project.180

                Notwithstanding the Commission’s limited jurisdiction, Sierra Club contends that
         the EA should have considered a broader range of alternatives. Sierra Club cites to
         Indigenous Environmental Network v. U.S. Department of State,181 where the court
         required the State Department to prepare a supplemental EIS to analyze an alternative
         route for the Keystone XL Pipeline that the State Department was aware of based on the
         applicant’s pending application with the Nebraska Public Service Commission. Sierra
         Club states this “was true despite the fact that the State Department’s jurisdiction was
         limited to the border crossing[ ] and the new route was in Nebraska.”182

                 We disagree that this holding applies here. As stated above, an agency need only
         consider alternatives that will bring about the ends of the proposed action, and the
         evaluation is “shaped by the application at issue and by the function that the agency plays
         in the decisional process.”183 Unlike the alternative at issue in Indigenous Environmental
         Network, the Commission is not aware of any alternative route for the interconnecting
         pipelines under consideration by another domestic or foreign government agency that
         would require the Commission to evaluate an alternative crossing location.

                Last, Sierra Club asserts that the EA should have evaluated smaller-diameter
         pipeline alternatives to the 48-inch-diameter line proposed for the project because a
         smaller pipeline could reduce the risks of and impacts from “likely” frac-outs184 that
         would occur when drilling under the Rio Grande using the Direct Pipe method.
         Relatedly, Sierra Club argues that the EA should have evaluated alternative crossing

                179
                   Sierra Club correctly notes that “[t]he [intrastate] pipeline route is determined
         by the proponent and ultimately the outcome of landowner negotiations or litigation.”
         Sierra Club Sept. 25, 2023 Comments on EA at 44.
                180
                      EA at 61-62.
                181
                      317 F.Supp.3d 1118, 1123 (D. Mont. 2018).
                182
                      Sierra Club Sept 25, 2023 Comments on EA at 48.
                183
                      Citizens Against Burlington, 938 F.2d at 199.
                184
                   A “frac-out” is an inadvertent release of sediment and other drilling material
         into aquatic resources during drilling underneath bodies of water.
Document Accession #: 20240215-3066                 Filed Date: 02/15/2024
        USCA Case #24-1199             Document #2059780           Filed: 06/13/2024   Page 43 of 83
         Docket No. CP23-29-000                                                               - 34 -

         methods, including horizontal direction drilling (HDD).185 As stated in the EA, the
         Direct Pipe trenchless crossing, which uses a guided micro-tunneling head to install the
         pipeline in one pass, has a lower probability of inadvertent releases than HDD because
         multiple reaming passes are not required.186 And while a potential inadvertent release
         may occur, Commission staff’s review of the geological resources, Saguaro’s Spill
         Prevention, Containment, and Countermeasure Plan, and the project-specific Inadvertent
         Release Control Plan indicated that the Direct Pipe method would not result in
         significant impacts to the Rio Grande.187 Moreover, Saguaro has demonstrated that the
         48-inch-diameter pipeline is necessary for transporting 2.834 Bcf/day.188

                         6.     Greenhouse Gas Emissions and Climate Change

                 NEPA requires agencies to include in NEPA documents reasonably foreseeable
         environmental effects of the proposed agency action.189 CEQ defines effects or impacts
         as “changes to the human environment from the proposed action or alternatives that are
         reasonably foreseeable,” which include those effects that “occur at the same time and
         place” and those that “are later in time or farther removed in distance, but are still
         reasonably foreseeable.”190 An impact is reasonably foreseeable if it is “sufficiently
         likely to occur such that a person of ordinary prudence would take it into account in
         reaching a decision.”191


                185
                      Sierra Club Sept. 25, 2023 Comments on EA at 53.
                186
                      EA at 5-6, 62.
                187
                      Id. at 14-15, 17-19, 25-26.
                188
                   Sierra Club claims that Saguaro has failed to justify the need for a
         48-inch-diameter pipeline because the company has not demonstrated it has sufficient
         supplies to transport the full 2.834 Bcf/day of capacity. As discussed above, Saguaro has
         demonstrated it has access to ample gas supply to meet the full project capacity.
                189
                    See FISCAL RESPONSIBILITY ACT OF 2023, PL 118-5, 137 Stat 10,
         at § 321 (June 3, 2023).
                190
                      40 C.F.R. § 1508.1(g).
                191
                    Id. § 1508.1(aa). See generally Pub. Citizen, 541 U.S. at 767 (explaining that
         “NEPA requires ‘a reasonably close causal relationship’ between the environmental
         effect and the alleged cause” and that “[t]he Court analogized this requirement to the
         ‘familiar doctrine of proximate cause from tort law”) (citation omitted); Food & Water
         Watch v. FERC, 28 F.4th 277, 288 (D.C. Cir. 2022) (“Foreseeability depends on
         information about the ‘destination and end use of the gas in question.’”) (citation
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780          Filed: 06/13/2024    Page 44 of 83
         Docket No. CP23-29-000                                                              - 35 -

                 We find that the project’s construction emissions are reasonably foreseeable.192
         The EA estimates that construction of the project may result in emissions of up to about
         6,869.2 metric tons of carbon dioxide equivalents (CO2e) over the duration of
         construction and commissioning. The estimated social cost of GHGs from the project is
         equal to $106,454 (assuming a discount rate of five percent), $367,251 (assuming a
         discount rate of three percent), $544,754 (assuming a discount rate of 2.5%), or
         $1,100,016 (using the 95th percentile of the social cost of GHGs with a discount rate of
         three percent).193 The EA states “[c]onstruction of the Project would increase the
         atmospheric concentration of GHGs, in combination with past and future emissions from
         all other sources and would contribute incrementally to future climate change
         impacts.”194

                Sierra Club argues that the EA should analyze the upstream and downstream GHG
         emissions associated with the project. Under Freeport,195 the Commission need not
         consider the effects of upstream production or downstream transportation, consumption,
         or combustion of exported gas because the DOE’s “independent decision to allow
         exports—a decision over which the Commission has no regulatory authority—breaks the
         NEPA causal chain and absolves the Commission of responsibility to include in its
         NEPA analysis considerations that it “could not act on” and for which it cannot be “the



         omitted); Sierra Club v. FERC, 867 F.3d 1357, 1371 (D.C. Cir. 2017) (Sabal Trail)
         (“FERC should have estimated the amount of power-plant carbon emissions that the
         pipelines will make possible.”).
               192
                   There are no stationary combustion sources, pig launchers and receivers,
         pneumatic devices, or aboveground facilities associated with the project; therefore, the
         project would not have natural gas blowdowns or other sources of operational emissions.
         Fugitive emissions from pipeline leaks would not be significant given the method of
         pipeline construction and installation. EA at 43.
               193
                   The values for the social cost of GHGs have been corrected from those reported
         in the EA, which included a calculation error. Id. at 59-60. The EA describes the method
         and assumptions staff used for calculating the social cost of GHGs. Id. at 57-60. The
         IWG draft guidance identifies costs in 2020 dollars. Interagency Working Group on
         Social Cost of Greenhouse Gases, United States Government, Technical Support
         Document: Social Cost of Carbon, Methane, and Nitrous Oxide Interim Estimates under
         Executive Order 13990, at 5 (Table ES-1) (Feb. 2021).
               194
                     EA at 57-58.
               195
                     827 F.3d 36 (D.C. Cir. 2016).
Document Accession #: 20240215-3066          Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780            Filed: 06/13/2024    Page 45 of 83
         Docket No. CP23-29-000                                                             - 36 -

         legally relevant cause.”196 Accordingly, we conclude that the upstream and downstream
         GHG emissions are not reasonably foreseeable.

                Acknowledging that Freeport is binding on the Commission,197 Sierra Club
         nonetheless argues that the Commission should calculate the indirect emissions from the
         project because: (1) the analysis would inform the Commission’s decision making
         regarding emissions within the Commission’s control;198 (2) DOE’s evaluation of MPL’s
         exports is a connected action that cannot be segmented from the Commission’s review of
         the project; and (3) the Freeport court declined to analyze whether the Commission’s
         responsibility under the NGA to act as “lead agency” requires the Commission to
         consider indirect upstream and downstream impacts.

                We are not persuaded that these arguments lead to a different outcome than the
         court reached in Freeport. As we have recently explained in response to similar
         arguments:

               NGA section 15(b)(1) directs the Commission to act as “lead agency for the
               purposes of coordinating all applicable Federal authorizations and for the
               purposes of complying with the National Environmental Policy Act.”
               Although the lead agency supervises the preparation of the environmental
               document where more than one federal agency is involved, the “lead agency”
               designation does not alter the scope of the project before the Commission
               either for approval or environmental review. Nor does the lead agency role




               196
                    Id. at 48 (quoting Pub. Citizen, 541 U.S. at 769). See also Alaska LNG,
               th
         67 F.4 at 1185 (“[T]he Commission does not have authority over, and need not address
         the effects of, the anticipated export of the gas.”) (citations omitted).
               197
                    Sierra Club also asserts that Freeport was wrongly decided and urges the
         Commission to seek to clarification from the court. The Commission is not free to ignore
         controlling precedent, as the comments acknowledge, and declines to ask the D.C. Circuit
         to clarify or overrule Freeport. See Commonwealth LNG, 181 FERC ¶ 61,143 at n.205
         (rejecting request by environmental intervenors to ask the D.C. Circuit to clarify or
         overrule Freeport), order on reh’g, 183 FERC ¶ 61,173 at P 45 (same).
               198
                    Sierra Club Sept. 25, 2023 Comments on EA at 57-63. Sierra Club also notes
         that nothing in Freeport prevents the Commission from providing information on
         upstream and downstream GHG emissions, and thus the Commission should so do to
         provide “important information to the public and to cooperating agency decisionmakers.”
         Id. at 57.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780              Filed: 06/13/2024     Page 46 of 83
         Docket No. CP23-29-000                                                                   - 37 -

                make the Commission responsible for ensuring a cooperating federal
                agency’s compliance with its own NEPA responsibilities.199

                 Here, the project before the Commission is the construction and operation of
         facilities under section 3 of the NGA to export natural gas to Mexico. The Commission
         fulfilled its role as lead agency in the NEPA review by issuing the EA and by our
         analysis here. As the agency responsible for authorizing exports, DOE is responsible for
         interpreting and applying NGA section 3 to the proposed exports and for providing
         appropriate supplemental environmental analysis should DOE decide to authorize
         additional exports to non-free trade agreement nations.

                Additionally, “the requirement that an agency consider connected actions in a
         single environmental document is to ‘prevent agencies from dividing one project into
         multiple individual actions’ with less significant environmental effects.”200 As discussed
         above, the proposal before the Commission is the Border Facility. The export of natural
         gas was proposed before DOE and authorized by DOE, not the Commission.

                Next, Sierra Club attempts to distinguish the Saguaro project from the project in
         Freeport by noting that Saguaro stated in its application that it will not hold title to any of
         the gas transported through the Border Facility and that it remains unclear where the gas
         is going. According to Sierra Club, whereas the court in Freeport “relieved FERC from
         evaluating GHG emissions based on the notion that DOE would evaluate those impacts
         for exports” in a separate docket, here “there is no corresponding DOE docket that will
         evaluate Saguaro’s exports under NEPA.” Sierra Club asserts that it “believes the facts
         show MPL will re-export the majority, if not all, of Saguaro’s gas from its LNG
         terminal” but that Saguaro and MPL state otherwise.201

                As discussed above, the eventual destination for the gas is immaterial to the
         Commission’s NEPA analysis. Regardless of the entity that holds title to or eventually
         receives the gas, the D.C. Circuit recently reiterated the relevant holding from Freeport,
         explicitly stating that the Commission has no “authority over, and need not address the




                199
                  Commonwealth LNG, 181 FERC ¶ 61,143 at P 80 (quoting Columbia Gulf
         Transmission, LLC, 180 FERC ¶ 61,206 at P 82; see Jordan Cove Energy Project LP,
         170 FERC ¶ 61,202, at P 180 (2020).
                200
                   Columbia Gulf Transmission, LLC, 180 FERC ¶ 61,206 at P 83 (quoting
         Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d at 1326).
                201
                      Sierra Club Sept. 25, 2023 Comments on EA at 61-63.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780            Filed: 06/13/2024    Page 47 of 83
         Docket No. CP23-29-000                                                                - 38 -

         effects of, the anticipated export of [] gas.”202 In any event, contrary to Sierra Club’s
         assertion, both Saguaro and MPL have indicated that MPL’s LNG facility in Mexico is
         the anticipated end-destination of the gas.203 Thus, as explained above, DOE is the
         proper venue for any and all concerns related to the re-export of gas from the MPL
         facility204 whether that gas were to pass through the Border Facility or any other
         border-crossing pipeline.

                 Finally, Sierra Club claims that, unlike in Freeport, the Commission in this case
         can determine “where the upstream gas development is most likely to occur, at what
         levels, and . . . the associated environmental impacts of that development” because
         Saguaro identified eight potential sources of gas in Texas.205 As stated above, the
         Commission need not consider the effects of upstream production or downstream
         transportation, consumption, or combustion of exported gas because the DOE’s
         “independent decision to allow exports . . .breaks the NEPA causal chain. . ..”206

                As we have done in prior orders, we compare GHG emissions to the total GHG
         emissions of the United States as a whole and at the state level. This comparison allows
         us to contextualize the project’s emissions. At a national level, 5,586 million metric tons
         of CO2e were emitted in 2021 (inclusive of CO2e sources and sinks).207 Construction


                202
                  Alaska LNG, 67 F.4th at 1185. As discussed above, we also reject Sierra
         Club’s contention that, Freeport notwithstanding, the NGA and NEPA compel the
         Commission to consider this docket and DOE’s export dockets together.
                203
                   See MPL Oct. 17, 2023 Answer at 12-13; MPL Mar. 15, 2023 Answer at 2-3;
         MPL Jan. 23, 2023 Motion to Intervene at 2-3; Saguaro Feb. 24, 2023 Answer at 3-4,
         17-18 (citing MPL’s DOE-FE 2018 export orders); Saguaro Application at 6.
                204
                  See Mexico Pacific Limited, LLC, DOE/FE Order No. 4248, Docket
         No. 18-70-LNG (Sept. 19, 2018); Mexico Pacific Limited, LLC, DOE/FE Order
         No. 4312, Docket No. 18-70 LNG (Dec. 14, 2018); Mexico Pacific Limited, LLC,
         DOE/FE Order No. 4995, Docket No. 22-167-LNG (Apr. 28, 2023).
                205
                   Sierra Club Nov. 13, 2023 Supplemental Comments at 14-15 (citing Saguaro
         Oct. 27, 2023 Response to Data Request). A map identifying the location of the gas
         sources was filed as non-public pursuant to the Commission’s regulations for Critical
         Energy Infrastructure Information and Privileged documents, 18 C.F.R. §§ 388.112,
         388.113 (2023).
                206
                      Supra P 65 (citing Freeport, 827 F.3d at 48).
                207
                      EA at 58.
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780          Filed: 06/13/2024    Page 48 of 83
         Docket No. CP23-29-000                                                                - 39 -

         emissions from the project could potentially increase CO2e emissions based on the
         national 2021 levels by 0.00012%.

                At the state level, we compare the project’s GHG emissions to the total GHG
         emissions for the state of Texas. For Texas, 663.5 million metric tons of CO2e were
         emitted in 2021.208 Construction emissions from the project would increase CO2e
         emissions, based on the state 2021 level, by 0.001%.

                We clarify that, for informational purposes, Commission staff disclosed an
         estimate of the social cost of GHGs.209 While we have recognized in some past orders
         that social cost of GHGs may have utility in certain contexts such as rulemakings,210 we
         have also found that calculating the social cost of GHGs does not enable the Commission
         to determine credibly whether the reasonably foreseeable GHG emissions associated with
         a project are significant or not significant in terms of their impact on global climate
         change.211 Currently, however, there are no criteria to identify what monetized values are
         significant for NEPA purposes, and we are currently unable to identify any such
         appropriate criteria.212 Nor are we aware of any other currently scientifically accepted



               208
                     Id.
               209
                     Id. at 58-59.
               210
                     Fla. Se. Connection, LLC, 164 FERC ¶ 61,099, at PP 35-37 (2018).
               211
                     See Mountain Valley Pipeline, LLC, 161 FERC ¶ 61,043, at P 296, (2017), aff’d
         sub nom., Appalachian Voices v. FERC, No. 17-1271, 2019 WL 847199 (D.C. Cir.
         2019); Delaware Riverkeeper, 45 F.4th at 111. The social cost of GHGs tool merely
         converts GHG emissions estimates into a range of dollar-denominated figures; it does
         not, in itself, provide a mechanism or standard for judging “significance.”
               212
                   Tenn. Gas Pipeline Co., L.L.C., 181 FERC ¶ 61,051 at P 37; see also Mountain
         Valley Pipeline, LLC, 161 FERC ¶ 61,043 at P 296, order on reh’g, 163 FERC ¶ 61,197,
         at PP 275-297 (2018), aff’d, Appalachian Voices v. FERC, No. 17-1271, 2019 WL
         847199, at 2 (D.C. Cir. 2019) (unpublished) (“[The Commission] gave several reasons
         why it believed petitioners’ preferred metric, the Social Cost of Carbon tool, is not an
         appropriate measure of project-level climate change impacts and their significance under
         NEPA or the Natural Gas Act. That is all that is required for NEPA
         purposes.”); EarthReports v. FERC, 828 F.3d at 956 (accepting the Commission’s
         explanation why the social cost of carbon tool would not be appropriate or informative
         for project-specific review, including because “there are no established criteria
         identifying the monetized values that are to be considered significant for NEPA
         purposes”); Tenn. Gas Pipeline Co., L.L.C., 180 FERC ¶ 61,205, at P 75 (2022); see, e.g.,
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780             Filed: 06/13/2024     Page 49 of 83
         Docket No. CP23-29-000                                                                - 40 -

         method that would enable the Commission to determine the significance of reasonably
         foreseeable GHG emissions.213 The D.C. Circuit has repeatedly upheld the
         Commission’s decisions not to use the social cost of carbon, including to assess
         significance.214 In fact, the D.C. Circuit recently affirmed the Commission’s decision to
         not analyze the social cost of carbon in its NEPA analysis,215 rejected the suggestion that
         it was required to do so, found that the petitioner’s arguments “fare no better when
         framed as NGA challenges,” and then, in the very same paragraph, sustained the
         Commission’s public interest determination as “reasonable and lawful.”216

               We note that there currently are no accepted tools or methods for the
         Commission to use to determine significance, and therefore the Commission is not herein


         LA Storage, LLC, 182 FERC ¶ 61,026, at P 14 (2023); Columbia Gulf Transmission,
         LLC, 180 FERC ¶ 61,206 at P 91.
                213
                     See, e.g., LA Storage, LLC, 182 FERC ¶ 61,026 at P 14 (“there are currently no
         criteria to identify what monetized values are significant for NEPA purposes, and we are
         currently unable to identify any such appropriate criteria”).
                214
                    See, e.g., Alaska LNG, 67 F.4th at 1184 (explaining that “the Commission
         compared the Project’s direct emissions with existing Alaskan and nationwide
         emissions,” “declined to apply the social cost of carbon for the same reasons it had given
         in a previous order”; describing those reasons as: (1) “the lack of consensus about how to
         apply the social cost of carbon on a long time horizon;” (2) that “the social cost of carbon
         places a dollar value on carbon emissions but does not measure environmental impacts as
         such;” and (3) “FERC has no established criteria for translating these dollar values into
         an assessment of environmental impacts”; and recognizing that the Commission’s
         “approach was reasonable and mirrors analysis . . . previously upheld” and that the
         Commission “had no obligation in this case to consider the social cost of carbon”)
         (citations omitted); EarthReports, 828 F.3d at 956 (upholding the Commission’s decision
         not to use the social cost of carbon tool due to a lack of standardized criteria or
         methodologies, among other things); Delaware Riverkeeper, 45 F.4th 104 (also
         upholding the Commission’s decision not to use the social cost of carbon); Appalachian
         Voices v. FERC, 2019 WL 847199 (D.C. Cir. 2019) (same).
                215
                    Alaska LNG, 67 F.4th at 1184 (“Rather than use the social cost of carbon, the
         Commission compared the Project’s direct emissions with existing Alaskan and
         nationwide emissions. It declined to apply the social cost of carbon for the same reasons
         it had given in a previous order. . . FERC’s approach was reasonable and mirrors analysis
         we have previously upheld.”).
                216
                      Id.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780          Filed: 06/13/2024     Page 50 of 83
         Docket No. CP23-29-000                                                                - 41 -

         characterizing these emissions as significant or insignificant.217 Accordingly, we have
         taken the required “hard look” and have satisfied our obligations under NEPA.

                         7.     Water Resources

                                a.     Clean Water Act Section 404

                 Sierra Club asserts that because the Corps declined to conduct a project-level
         NEPA analysis and instead is evaluating Saguaro’s application for a Nationwide
         Permit 12 permit, the EA must evaluate the impact of construction activities on
         waterbodies crossed by the non-jurisdictional Connector Pipeline.218 EPA recommends
         that the Commission confirm the wetland delineation for all jurisdictional Waters of the
         United States.219

                The EA addresses wetlands crossed by the project workspace; wetlands crossed by
         the existing access road (Indian Hot Spring Road); and wetlands located within 50 feet of
         a project workspace. As stated in the EA, Saguaro applied for a Nationwide Permit
         (NWP) 12 permit for the project’s proposed activities that may result in discharge or
         dredged or fill materials into Waters of the United States.220 The Corps reviews
         applications for impacts on Waters of the United States, and approval is pending for the
         use of NWP 12. Environmental Condition 9 in Appendix A to this order requires
         Saguaro to provide documentation that it has received all applicable federal
         authorizations, including the NWP 12 approval, before the Commission authorizes
         construction of the project facilities.

                 Sierra Club expresses concerns about the potential for an inadvertent release of
         drilling fluids. It states that although the EA acknowledges that frac-outs are a
         foreseeable consequence of project construction, it does not evaluate the likelihood,

                217
                   The February 18, 2022 Interim GHG Policy Statement, Consideration of
         Greenhouse Gas Emissions in Nat. Gas Infrastructure Project Revs., 178 FERC ¶ 61,108
         (2022) which proposed to establish a NEPA significance threshold of 100,000 tons per
         year of CO2e as a matter of policy, has been suspended and opened to further public
         comment. Certifications of New Interstate Nat. Gas Facilities, 178 FERC ¶ 61,197,
         at P 2 (2022).
                218
                   Sierra Club Sept. 25, 2023 Comments on EA at 66-67 (stating that the Corps is
         wrong to evaluate the project under the Nationwide Permit 12 for Oil and Natural Gas
         Pipeline Activities).
                219
                      EPA Feb. 28, 2023 Scoping Comments, at 2.
                220
                      EA at 18, 51.
Document Accession #: 20240215-3066               Filed Date: 02/15/2024
        USCA Case #24-1199             Document #2059780         Filed: 06/13/2024     Page 51 of 83
         Docket No. CP23-29-000                                                                - 42 -

         magnitude, or impacts of such releases, nor the toxicity of the drilling fluids. Sierra Club
         avers that the EA inadequately addresses the risks of contamination from drilling fluids
         on fish and wildlife, vegetation, and aquatic resources.221 EPA suggests the use of
         water-based drilling mud to minimize potential impacts on Waters of the United States.222

                 The project would use the Direct Pipe method to cross the Rio Grande, not HDD.
         Direct Pipe trenchless crossing has a lower probability of inadvertent releases than HDD
         as multiple reaming passes are not required. Also, as stated in the EA, while a potential
         inadvertent release may occur, Commission staff’s review of the geological resources;
         Saguaro’s Spill Prevention, Containment, and Countermeasure Plan; as well as the
         project-specific Inadvertent Release Control Plan indicates that the Direct Pipe method
         would not result in significant impacts on the Rio Grande or federally listed species.223
         Further, Saguaro’s Inadvertent Release Control Plan includes a contingency plan to
         mitigate potential impacts from an inadvertent release of drilling fluids during the Direct
         Pipe drilling process in the waterbody, wetland, and upland areas.224 Commission staff
         reviewed the Inadvertent Release Control Plan and found it acceptable. Finally, as stated
         in the EA, drilling fluids are composed of mostly water, drilling mud, and bentonite
         clay.225 Any additives that Saguaro may include in the drilling fluid must be
         non-petrochemical-based, nonhazardous, meet any applicable permit requirements and
         environmental regulations, and be on the NSF International/American National Standards
         Institute 60-certified list.226 Therefore, we agree with the EA’s conclusion that the
         proposed project would not have significant impacts on surface water resources or
         wetlands.227



                221
                   Sierra Club Sept. 25, 2023 Comments on EA at 67-77. Although Sierra Club
         makes a passing reference to the risk of frac-outs with the Direct Pipe method, id.
         at 70-71, virtually all of its discussion is about the risks associated with HDD.
                222
                      EPA Sept. 26, 2023 Comments on EA at 1-2.
                223
                      EA at 6, 13-15, 17-19, 25
                224
                      Id. at 17-19
                225
                      Id. at 11, 13, 17, 19.
                226
                   The NSF International/American National Standards Institute 60-certified list
         has been developed to establish minimum requirements for the control of potential
         adverse human health effects from products added to water for its treatment.
                227
                      EA at 15, 17-18.
Document Accession #: 20240215-3066              Filed Date: 02/15/2024
        USCA Case #24-1199              Document #2059780        Filed: 06/13/2024     Page 52 of 83
         Docket No. CP23-29-000                                                                  - 43 -

                                   b.    National Pollution Discharge Elimination System Permit

                EPA recommends that the Commission evaluate whether the project’s
         construction activities would require a National Pollution Discharge Elimination System
         (NPDES) permit from the Texas Commission on Environmental Quality for stormwater
         discharge due to the area of disturbance.228 Saguaro applied for a Texas Pollutant
         Discharge Elimination System General Permit.229

                                   c.    Cumulative Effects and Flooding

                Sierra Club argues that the EA does not adequately address cumulative effects to
         waterways from the Connector Pipeline.230 According to Sierra Club, though the EA
         acknowledges the possibility of cumulative effects to waterways, the EA lacks the
         required specificity to satisfy NEPA.231 Sierra Club also asserts that the EA fails to
         discuss the Red Light Draw, a major tributary to the Rio Grande River that the Connector
         Pipeline will cross. It states that Red Light Draw can rise more than ten feet during
         flooding events, which could cause scouring of an arroyo that heightens risks of a
         pipeline rupture.232

                As stated in the EA, Commission staff disclosed the available information on the
         environmental impacts of the non-jurisdictional Connector Pipeline and considered
         cumulative impacts for each resource, adjusted to resource-specific geographic scopes.233
         The EA evaluates cumulative impacts to surface water resources within the Hackberry
         Arroyo – Rio Grande Hydrologic Unit (HUC) 12, which includes approximately
         6.8 miles of the proposed intrastate pipeline.234 It identifies increased sedimentation and
         turbidity as possible cumulative impacts from construction and noted other short-term




                228
                      EPA Sept. 25, 2023 Comments on EA at 2.
                229
                      EA at Table A-1.
                230
                      Sierra Club Sept. 25, 2023 Comments on EA at 78-81.
                231
                      Id. at 79-80
                232
                   Id. at 81; see Antionette Reyes Sept. 26, 2023 Comments on EA at 2
         (referencing the risk of the pipeline to arroyos, which help prevent flash flooding).
                233
                      EA at 48-49.
                234
                      Id. at 50.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199            Document #2059780           Filed: 06/13/2024   Page 53 of 83
         Docket No. CP23-29-000                                                               - 44 -

         impacts likely to occur.235 The EA also acknowledges Saguaro’s mitigation plans for
         impacts to surface waters and noted that “[u]nless a permanent aboveground facility is
         sited in the floodplain, there would be no reduction in floodplain capacity in the
         [watershed] from the intrastate pipeline.”236 Red Light Draw is located in HUC 10,
         which is outside the geographic scope for cumulative effects to water resources. The EA
         concludes that significant cumulative effects on surface water resources are not
         anticipated.237 We agree.

                            8.    Transboundary Impacts

                Sierra Club claims that court precedent and the 1997 CEQ Guidance on NEPA
         Analyses for Transboundary Impacts238 require that the Commission evaluate the
         reasonably foreseeable environmental impacts on the Mexican side of the border that
         would result from authorizing the project.239 It asserts that this would include impacts in
         Mexico from construction of the Sierra Madre Pipeline, which Sierra Club states is the
         interconnecting pipeline.240 Sierra Club contends that transboundary impacts also include
         localized impacts from construction of the Border Facility, such as impacts to the
         Rio Grande watershed.241 In support, Sierra Club cites the CEQ’s requirement that
         agencies assess the cumulative impacts of a project when added to reasonably foreseeable
         actions “regardless of what agency (Federal or non-Federal) or person undertakes” the
         action, and the 1997 Guidance, which states that “agencies must include analysis of
         reasonably foreseeable transboundary effects of proposed actions in their analysis of
         proposed actions in the United States.”242


                235
                      Id. at 50-51.
                236
                      Id. at 51
                237
                      Id.
                238
                   Council on Environmental Quality Guidance on NEPA Analyses for
         Transboundary Impacts, Executive Office of the President— Council on Environmental
         Quality (July 1, 1997), https://ceq.doe.gov/docs/ceq-regulations-and-
         guidance/memorandum-transboundary-impacts-070197.pdf (1997 Guidance).
                239
                      Sierra Club Sept. 25, 2023 Comments on EA at 82.
                240
                      Id. at 81-82.
                241
                      Id.
                242
                      Id. at 82 (quoting 40 C.F.R. § 1508.7; 1997 Guidance).
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780            Filed: 06/13/2024     Page 54 of 83
         Docket No. CP23-29-000                                                                  - 45 -

                The 1997 Guidance “pertains only to those proposed actions currently covered by
         NEPA that take place within the United States and its territories, and [ ] does not change
         the applicability of NEPA law, regulations or case law to those actions.”243 Thus, the
         guidance instructs agencies to evaluate reasonably foreseeable impacts from actions in
         the United States that may reach across international borders—not the effects of a
         separate action located entirely within a foreign country and subject exclusively to the
         jurisdiction of that country. With respect to localized impacts in Mexico caused by
         construction of the Border Facility in the United States, the EA explains in its cumulative
         impacts analysis that the Border Facility would have short-term, insignificant impacts
         across resources.244 Therefore, any impacts that traverse the Mexican side of the border
         would be similarly insignificant, and the EA’s finding of insignificant cumulative impacts
         from the Border Facility satisfies our NEPA obligations.

                Next, Sierra Club argues that there exists “a reasonably close causal relationship”
         that warrants environmental analysis of the pipeline in Mexico.245 Sierra Club states that
         in Border Power Plant Working Group v. Department of Energy,246 the DOE was
         required to consider the transboundary air impacts of a power plant in Mexico that was
         attached to a DOE-permitted border-crossing electric transmission line.247 Sierra Club
         argues that was the case because the transmission line was the only means through which
         the plant could transmit power, making the transmission lines connecting at the border
         “two links in the same chain.”248 Border Power, however, is distinguishable from

                243
                    1997 Guidance at 1 (emphasis added). Moreover, even if construction of the
         interconnecting Mexican pipeline action was somehow under the Commission’s
         jurisdiction, the guidance explains that it does not “apply to so-called ‘extraterritorial
         actions’; that is, U.S. actions that take place in another country or otherwise outside the
         jurisdiction of the United States.” Id.
                244
                   EA at 60 (“In general, small-scale pipeline construction projects such as the
         Border Facilities would have short-term impacts with relatively minor ground
         disturbance. Cumulative impacts on geological, water, and vegetative resources would
         be localized. Impacts on wildlife also would be short-term and successful revegetation
         would indicate that the Border Facilit[y] . . . would not lead to significant cumulative
         impacts on wildlife in the area.”).
                245
                   Sierra Club Sept. 25, 2023 Comments on EA at 81-82 (quoting Pub. Citizen,
         541 U.S. at 767).
                246
                      260 F.Supp.2d 997 (S.D. Calif. 2003) (Border Power).
                247
                      Sierra Club Sept. 25, 2023 Comments on EA at 83.
                248
                      Id. (citing Border Power, 260 F.Supp.2d at 1017).
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024     Page 55 of 83
         Docket No. CP23-29-000                                                                - 46 -

         Sagauro’s application and the related pipeline in Mexico. As Sierra Club admits, in
         Border Power, the transmission line at issue was the only means by which the electricity
         could be transmitted. Here, MPL states that it may export gas across multiple existing
         boarder-crossing pipelines and the Saguaro project is just one of those pipelines.249
         Therefore, Saguaro’s proposal is more akin to the facts in Sierra Club v. Clinton, where
         the court upheld the agency’s determination to not examine effects associated with
         upstream oil production in Canada.250

                Last, Sierra Club states that in Backcountry Against Dumps v. Chu,251 the court
         held that Congress intended NEPA to apply extraterritorially,252 and, in a subsequent
         order in the same case, the court faulted DOE for its failure to analyze the environmental
         impacts in Mexico of 0.65 miles of transmission line to be constructed in the
         United States.253 Sierra Club notes that the court determined that DOE could attach and
         incorporate by reference any environmental documents prepared by the government of
         Mexico to satisfy its NEPA obligations.254 Sierra Club relies on this case to assert that
         the Commission erred by failing to indicate whether an environmental analysis by
         Mexican authorities exists or by failing to incorporate by reference such analysis.255

                We disagree that Backcountry requires the Commission to assess the
         environmental impacts of activities that occur in Mexico. In finding that NEPA applies
         extraterritorially, the court states that “agencies must take into account the effects of
         actions within the United States, even when those effects are felt across sovereign


                249
                      MPL Oct. 17, 2023 Reply Comments at 8.
                250
                   746 F. Supp. 2d 1025, 1045 & n.11 (D. Minn. 2010) (“[T]he administrative
         record supports Defendants' conclusion that there is not a sufficient causal relationship
         between the AC Pipeline and the development of the oil sands.” (distinguishing from
         Border Power)).
                251
                   215 F.Supp.3d 966 (S.D. Cal. 2015) (Backcountry). The project at issue was
         the construct of a 1.65-mile-long transmission line of which 0.65 miles were in the
         United States.
                252
                      Id. at 980.
                253
                   Backcountry Against Dumps v. Perry, 2017 WL 3712487, at *3 (S.D. Cal.
         Aug. 29, 2017).
                254
                      Id.
                255
                      Sierra Club Sept. 25, 2023 Comments on the EA at 83-84.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780           Filed: 06/13/2024     Page 56 of 83
         Docket No. CP23-29-000                                                               - 47 -

         borders.”256 Thus, the court’s statements merely reiterate the 1997 Guidance, which, as
         discussed above, requires only that the Commission examine the effects of the Border
         Facility that occur in Mexico. As explained above, we have done so here.

                         9.     Environmental Justice

                In conducting NEPA reviews of proposed natural gas projects, the Commission
         follows Executive Order 12898, which directs federal agencies to identify and address the
         “disproportionately high and adverse human health or environmental effects” of their
         actions on minority and low-income populations (i.e., environmental justice
         communities).257 Executive Order 14008 also directs agencies to develop “programs,
         policies, and activities to address the disproportionately high and adverse human health,
         environmental, climate-related and other cumulative impacts on disadvantaged
         communities, as well as the accompanying economic challenges of such impacts.”258
         Environmental justice is “the fair treatment and meaningful involvement of all people
         regardless of race, color, national origin, or income with respect to the development,
         implementation, and enforcement of environmental laws, regulations, and policies.”259


                256
                      Backcountry, 215 F.Supp.3d at 980 (emphasis added).
                257
                     Exec. Order No. 12,898, 59 Fed. Reg. 7629 (Feb. 16, 1994). While the
         Commission is not one of the specified agencies in Executive Order 12898, the
         Commission nonetheless addresses environmental justice in its analysis, in accordance
         with our governing regulations and guidance, and statutory duties. See 18 C.F.R.
         § 380.12(g) (2023) (requiring applicants for projects involving significant aboveground
         facilities to submit information about the socioeconomic impact area of a project for the
         Commission’s consideration during NEPA review); FERC, Guidance Manual for
         Environmental Report Preparation at 4-76 to 4-80 (Feb. 2017),
         https://www.ferc.gov/sites/default/files/2020-04/guidance-manual-volume-1.pdf.
                258
                   Exec. Order No. 14,008, 86 Fed. Reg. 7619 (Jan. 27, 2021). The term
         “environmental justice community” includes disadvantaged communities that have
         been historically marginalized and overburdened by pollution. Id. at 7629. The
         term also includes, but may not be limited to minority populations, low-income
         populations, or indigenous peoples. See EPA, EJ 2020 Glossary (July 31, 2023),
         https://www.epa.gov/environmentaljustice/ej-2020-glossary.
                259
                   EPA, Learn About Environmental Justice,
         https://www.epa.gov/environmentaljustice/learn-about-environmental-justice (Aug. 16,
         2023). Fair treatment means that no group of people should bear a disproportionate share
         of the negative environmental consequences resulting from industrial, governmental, and
         commercial operations or policies. Id. Meaningful involvement of potentially affected
         environmental justice community residents means: (1) people have an appropriate
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780          Filed: 06/13/2024     Page 57 of 83
         Docket No. CP23-29-000                                                               - 48 -

                 Consistent with the CEQ260 and EPA261 guidance, the Commission’s methodology
         for assessing environmental justice impacts considers: (1) whether environmental justice
         communities (e.g., minority or low-income populations)262 exist in the project area;
         (2) whether impacts on environmental justice communities are disproportionate and
         adverse; and (3) possible mitigation measures. As recommended in Promising Practices,
         the Commission uses the 50% and the meaningfully greater analysis methods to identify
         minority populations.263 Specifically, a minority population is present where either:
         (1) the aggregate minority population of the block groups in the affected area exceeds
         50%; or (2) the aggregate minority population in the block group affected is 10% higher
         than the aggregate minority population percentage in the county.264

                 CEQ’s Environmental Justice Guidance also directs low-income populations to be
         identified based on the annual statistical poverty thresholds from the U.S. Census Bureau.

         opportunity to participate in decisions about a proposed activity that may affect their
         environment and/or health; (2) the public’s contributions can influence the regulatory
         agency’s decision; (3) community concerns will be considered in the decision-making
         process; and (4) decision makers will seek out and facilitate the involvement of those
         potentially affected. Id.
                260
                    CEQ, Environmental Justice: Guidance Under the National Environmental
         Policy Act 4 (Dec. 1997) (CEQ’s Environmental Justice Guidance),
         https://ceq.doe.gov/docs/ceq-regulations-and-guidance/regs/ej/justice.pdf. CEQ offers
         recommendations on how federal agencies can provide opportunities for effective
         community participation in the NEPA process, including identifying potential effects and
         mitigation measures in consultation with affected communities and improving the
         accessibility of public meetings, crucial documents, and notices.
                261
                   See generally EPA, Promising Practices for EJ Methodologies in NEPA
         Reviews (Mar. 2016) (Promising Practices),
         https://www.epa.gov/sites/default/files/2016-
         08/documents/nepa_promising_practices_document_2016.pdf.
                262
                   See generally Exec. Order No. 12,898, 59 Fed. Reg. 7629. Minority populations
         are those groups that include: American Indian or Alaskan Native; Asian or Pacific
         Islander; Black, not of Hispanic origin; or Hispanic.
                263
                      See Promising Practices at 21-25.
                264
                   Here, Commission staff selected Hudspeth County as the reference community
         to ensure that affected environmental justice communities are properly identified. A
         reference community may vary according to the characteristics of the particular project
         and the surrounding communities. EA at 35-36.
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780            Filed: 06/13/2024     Page 58 of 83
         Docket No. CP23-29-000                                                               - 49 -

         Using Promising Practices’ low-income threshold criteria method, low-income
         populations are identified as block groups where the percent of low-income population in
         the identified block group is equal to or greater than that of the county.

                To identify potential environmental justice communities during preparation of the
         EA, Commission staff used 2021 U.S. Census American Community Survey data265 for
         the race, ethnicity, and poverty data at the state, county, and block group level.266
         Additionally, in accordance with Promising Practices, staff used EJScreen, EPA’s
         environmental justice mapping and screening tool, as an initial step to gather information
         regarding minority and low-income populations, potential environmental quality issues,
         environmental and demographic indicators, and other important factors.

                Once staff collected the block group level data, as discussed in further detail
         below, staff conducted an impacts analysis for the identified environmental justice
         communities and evaluated health or environmental hazards, the natural physical
         environment, and associated social, economic, and cultural factors to determine whether
         impacts were disproportionately high and adverse on environmental justice communities
         and also whether those impacts were significant.267 Commission staff assessed whether
         impacts to an environmental justice community were disproportionately high and adverse
         based on whether those impacts were predominately borne by that community, consistent
         with EPA’s recommendations in Promising Practices.268 Identified project impacts are
         discussed below.


               265
                    U.S. Census Bureau, American Community Survey 2021 ACS 5-Year
         Estimates Detailed Tables, File# B17017, Poverty Status in the Past 12 Months by
         Household Type by Age of Householder, https://data.census.gov/cedsci/table?q=B17017;
         File #B03002 Hispanic or Latino Origin By Race,
         https://data.census.gov/cedsci/table?q=b03002.
               266
                     EA at 36.
               267
                   See Promising Practices at 33 (stating that “an agency may determine that
         impacts are disproportionately high and adverse, but not significant within the meaning
         of NEPA” and in other circumstances “an agency may determine that an impact is both
         disproportionately high and adverse and significant within the meaning of NEPA”).
               268
                    Id. at 44-46 (explaining that there are various approaches to determining
         whether an action will cause a disproportionately high and adverse impact, and that one
         recommended approach is to consider whether an impact would be “predominantly borne
         by minority populations or low-income populations”). We recognize that EPA and CEQ
         are in the process of updating their guidance regarding environmental justice and we will
         review and incorporate that anticipated guidance in our future analysis, as appropriate.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780             Filed: 06/13/2024      Page 59 of 83
         Docket No. CP23-29-000                                                                  - 50 -

                 Commission staff determined that the entire project is within Census Tract 9503,
         Block Group 1, which is defined as a minority population.269 Factors that could affect
         environmental justice communities include visual impacts, socioeconomic impacts
         including traffic impacts, and air and noise impacts from construction. The EA
         concludes that environmental justice concerns are not present for other resource areas
         such as geology, groundwater, surface water, wetlands, wildlife, or cultural resources due
         to the geographic scope of these resources in relation to the environmental justice
         geographic scope (Hudspeth County).270

                 EPA and Sierra Club state that the EA should identify and discuss effects on
         environmental justice communities along the Connector Pipeline, rather than only the
         Border Facility.271 Sierra Club asserts that the EA unreasonably finds that: (1) impacts
         to the identified environmental justice community will be “temporary and not significant”
         even though “the entire border crossing Project is within a minority population;” and
         (2) certain environmental concerns are not present for other resources, including cultural
         resources. Sierra Club points to “culturally significant artifacts” in the Rio Grande River
         basin, the Quitman Mountains, and areas in which “historically migratory populations”
         exist.272 As with the Commission’s analysis of environmental impacts under NEPA, our
         analysis of communities with environmental justice concerns is limited to project
         facilities under the Commission’s jurisdiction.273 Accordingly, we are reviewing the
         environmental justice impacts of the Border Facility within a one-mile radius to the
         project.274 Potential impacts to cultural resources are discussed below.

                No aboveground facilities are associated with the project. The nearest noise
         sensitive area (NSA) to the pipeline is over three miles away. Effects on visual resources
         would be limited to project construction activities for Direct Pipe drilling and installation.

                269
                      EA at 39.
                270
                      Id.
                271
                   Sierra Club Sept. 25, 2023 Comments on EA at 86-87; EPA Feb. 27, 2023
         Scoping Comments at 3; see also Antionette Reyes Sept. 26, 2023 Comments on EA at 2
         (noting prevalence of minority and low-income populations in Hudspeth County).
                272
                      Sierra Club Sept. 25, 2023 Comments on EA at 87-89.
                273
                      See supra PP 40-41, 43-50.
                274
                   Commission staff chose a one-mile radius given the “likely concentration of air
         emissions, noise, and traffic impacts proximal to the pipeline[,]” as communities located
         further away from the Border Facility are not anticipated to experience any adverse
         impacts from the project’s construction or operation. EA at 36.
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780           Filed: 06/13/2024     Page 60 of 83
         Docket No. CP23-29-000                                                                - 51 -

         After construction, the disturbed soil would be recontoured and restored to conditions
         suitable for successful revegetation. Perceptible impacts on the environmental justice
         community would be temporary and less than significant.

                 Given the nominal non-local workforce required for project construction relative
         to the county population (maximum of 60 non-local workers during the 160-day
         construction period, representing 0.02% change to Hudspeth County) and no new
         operational workforce required to operate the facilities, Commission staff determined that
         impacts on socioeconomic resources within the environmental justice communities (e.g.,
         population, housing demand, or the provision of community services such as police, fire,
         or schools) would be temporary and less than significant, as there would be a negligible
         change from current conditions.

                 The project is in a rural area of Hudspeth County and local roadways in this area
         have limited existing traffic. Saguaro anticipates that it would utilize two buses to
         transport work crews to and from the Direct Pipe location to a contractor yard and would
         make two round trips per day to reduce the number of vehicles traveling on Indian Hot
         Spring Road. The location of the contractor yard, which would serve as the parking lot
         for 40 – 60 construction personnel, has not been finalized; however, Saguaro anticipates
         that the contractor yard would be within Census Tract 9503.00, Block Group 1.
         Construction of the project would require the daily use of one or two mechanic trucks and
         a fuel truck for refueling equipment, as necessary. Saguaro estimates that the total
         number of average daily round trips generated by the project’s construction activities
         would be approximately 10 to 20 trips. Traffic impacts on the environmental justice
         community would be temporary and less than significant.

                 During construction, a temporary reduction in ambient air quality may result from
         criteria pollutant emissions and fugitive dust generated by construction equipment.
         Specifically, the EA estimates that construction of the project will result in 11.67 tons of
         oxides of nitrogen emissions, 8.87 tons of carbon monoxide emissions, 1.25 tons of
         volatile organic compound emissions, 0.02 tons of sulfur dioxide emissions, and
         11.65 tons of particulate matter emissions (9.65 tons of PM10 and 2 tons of PM2.5).275
         Fugitive dust and other emissions due to construction activities generally do not cause a
         significant increase in regional pollutant levels; however, local pollutant levels could
         increase within the environmental justice geographic scope. Saguaro would use dust
         suppression techniques, such as spraying water on the right-of-way, as necessary to
         minimize the transport of fugitive dust onto the temporary access road (Indian Hot Spring
         Road is a public roadway) and environmentally sensitive areas. Construction emission




                275
                      EA at 44, Table B-2.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780             Filed: 06/13/2024      Page 61 of 83
         Docket No. CP23-29-000                                                                    - 52 -

         impacts on the environmental justice community would be temporary and less than
         significant.

                There are no stationary combustion sources associated with the project; therefore,
         there will be no point source emissions. Given that Saguaro would use the Direct Pipe
         method, an advanced drilling technique, to install the pipeline under the Rio Grande in
         one stage after onsite welding and in accordance with U.S. Department of Transportation
         pipeline standards, fugitive emissions such as fugitive leaks from the pipeline are not
         anticipated.

                 Temporary construction impacts in proximity to construction work areas could
         include noise. Given that the nearest NSA is over three miles from the Direct Pipe
         location, the use of the Direct Pipe method would have no noise impact on the
         environmental justice community. The project does not involve new aboveground
         facilities with continuous noise sources. Therefore, the project would not result in any
         operational noise impacts on environmental justice communities.

                 As described throughout the EA, the proposed project would have a range of
         impacts on the environment and on individuals living in the vicinity of the project
         facilities, including environmental justice populations. As highlighted in table B-2 of the
         EA, there is one block group within the project area, and it is considered an
         environmental justice community. Project activities within the identified environmental
         justice community includes the construction and operation of the project. Impacts
         associated with the construction of the project on the environmental justice community
         would be disproportionately high and adverse as they would be predominately borne by
         an environmental justice community. However, the project’s construction and
         operational impacts associated with socioeconomics, traffic, visual, air quality, and noise
         for these components would be less than significant.

                         10.    Cultural Resources and Tribal Consultation

                 Section 106 of the National Historic Preservation Act and its implementing
         regulations require agencies to undertake a “reasonable and good faith effort” to identify
         historic properties within a project’s “area of potential effects” that may be affected by
         their undertakings, and afford the Advisory Council on Historic Preservation a reasonable
         opportunity to comment on the undertaking.276 Project construction and operation could
         potentially affect historic properties, such as cultural resources either listed or eligible for
         listing in the National Register of Historic Places (National Register). These historic
         properties could include prehistoric or historic archaeological sites, districts, buildings,



                276
                      54 U.S.C. § 306108; 36 C.F.R. pt. 800 (2023).
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780             Filed: 06/13/2024      Page 62 of 83
         Docket No. CP23-29-000                                                                  - 53 -

         structures, or objects, as well as locations with traditional value to federally recognized
         Tribes or other groups.

                 EPA recommends that the Commission meaningfully engage with the Carrizo
         Comecrudo Tribe of Texas “regarding village sites, sacred sites, and all other concerns
         impacted by the proposed project” and urges the Commission to provide documentation
         of its engagement with the Tribe’s chair, Juan B. Mancias, and any agreed upon
         measures.277 Saguaro submitted information about the project to seven federally
         recognized tribes in November 2022 and April 2023. Commission staff also included the
         Carrizo Comecrudo Tribe of Texas in the Commission’s Service List and the project’s
         environmental mailing list. The scoping process and EA comment period afforded the
         Tribe an opportunity to share its knowledge of the history of and resources that should be
         considered

                 Sierra Club asserts that, as with other resources, the Commission’s analysis is
         improperly confined to the area of the Border Facility, and Sierra Club states that areas
         along the upstream pipeline route are “rich in cultural and archeological resources and
         sites.”278 Additionally, Mr. Mancias and several individuals noted cultural sites and
         resources near the project, such as the Indian Hot Springs located along the Rio Grande in
         Hudspeth County.279

                 The Commission does not have jurisdiction over the intrastate Connector Pipeline;
         accordingly, the EA evaluates the Border Facility’s area of potential effects. Cultural
         surveys identified six archaeological sites and three prehistoric isolated finds within the
         Border Facility’s area of potential effects. Of the sites, one site was recommended as
         eligible for listing in the National Register, to which the Texas State Historic Preservation
         Officer (SHPO) concurred; however, the site is located adjacent to an access road and
         would not be impacted directly by the project. Two newly recorded sites, which were
         found as undetermined for eligibility for listing in the National Register, were avoided via
         a project re-route. The three remaining sites were recommended not eligible for the
         National Register. Following a site visit and correspondence with the SHPO, Saguaro
         updated and submitted its cultural survey report. Saguaro also revised its plan to address




                277
                      EPA Sept. 26, 2023 Comments on EA at 2-3.
                278
                      Sierra Club Sept. 25, 2023 Comments on EA at 89-90.
                279
                  See Juan Benito Mancias Sept. 25, 2023 Comments on EA (attaching
         comments from tribal members and other supporters); Juan Benito Mancias Feb. 2, 2023
         Motion to Intervene; Antionette Reyes Sept. 26, 2023 Comments on EA at 1.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199           Document #2059780            Filed: 06/13/2024      Page 63 of 83
         Docket No. CP23-29-000                                                                  - 54 -

         the unanticipated discovery of cultural resources and human remains during construction,
         which Commission staff found acceptable.280

                 Based on the provided documentation, dated September 9, 2023, and
         November 22, 2023, consultation with Texas SHPO is not complete. 281 Therefore, the
         EA recommends, and we require in Environmental Condition 13, that Saguaro not begin
         construction of facilities or use of any staging, storage, or temporary work areas until:
         (1) Saguaro files with the Commission all remaining cultural resources survey reports,
         site evaluations, and avoidance or treatment plans for NRHP-listed or NRHP-eligible
         sites, as necessary, and comments on those reports and plans from the Texas SHPO;
         (2) the Advisory Council on Historic Preservation is afforded an opportunity to comment
         if historic properties would be adversely affected; and (3) Commission staff reviews and
         approves all cultural resources reports, studies, and plans, and notifies Saguaro in writing
         that treatment plans and mitigation measures may be implemented and/or construction
         may proceed.

                         11.    Endangered Species

                 Sierra Club contends that the Commission and FWS improperly limited the scope
         of ESA consultation by excluding the intrastate pipeline from its analysis.282 The EA
         thoroughly evaluates the potential impact of the Border Facility on federal- and
         state-listed threatened, endangered, and special status species. As the Commission’s
         non-federal representative, Saguaro requested concurrence from FWS on its
         determination that the project may affect, but is not likely to adversely affect the federally
         listed Southwestern willow flycatcher (Empidonax trailii extimus).283 FWS filed its letter
         of concurrence on September 22, 2023.284 In its concurrence letter, FWS acknowledged
         that the border-crossing facilities would connect with a new intrastate pipeline and noted
         generally the nature and location of the intrastate facilities. FWS concurred with
         Commission staff’s “not likely to adversely affect” determinations and found that

                280
                      EA at 28-29.
                281
                   Saguaro explained by letter that it continues to consult with the Texas SHPO
         and has submitted a revised cultural resources report that addresses prior concerns raised
         by the SHPO. See Saguaro Nov. 22, 2023 Letter Regarding Agency Correspondence.
                282
                   Sierra Club Sept. 25, 2023 Comments on EA at 90-93; see also Antionette
         Reyes Sept. 26, 2023 Comments on EA (expressing concern about harm to endangered
         species habitat for several endangered or threatened species in west Texas).
                283
                      EA at 24-28.
                284
                      FWS Sept. 22, 2023 Letter of Concurrence.
Document Accession #: 20240215-3066                 Filed Date: 02/15/2024
        USCA Case #24-1199             Document #2059780           Filed: 06/13/2024    Page 64 of 83
         Docket No. CP23-29-000                                                                 - 55 -

         “Section 7 of the [ESA] has been complied with.” Because ESA consultation is
         complete, staff’s recommended Environmental Condition 14 in the EA is not included in
         Appendix A as a condition of this order.

                            12.    Project Safety

                Several commenters and Sierra Club expressed concern about potential seismic
         events affecting the Border Facility as well as a lack of paved roads and resources in
         Hudspeth County to respond to an emergency.285 Sierra Club and one individual also
         raised the potential for pipeline ruptures and explosions.286 Sierra Club alleges that the
         EA’s discussion of the Pipeline and Hazardous Materials Safety Administration
         (PHMSA) pipeline safety standards is inadequate and that ruptures are a “foreseeable
         consequence[ ] of FERC’s permitting action.”287

                 Regarding access for emergency vehicles, the EA explains that Saguaro will work
         with Hudspeth County to maintain Indian Hot Springs Road, which is unpaved.288 With
         respect to seismic activity, PHMSA has the exclusive authority to promulgate the federal
         safety standards used in the transportation of natural gas. The EA identifies and explains
         that the Quaternary fault, which is located 1.6 miles from the project, likely last
         experienced fault activity thousands of years ago.289 The EA also notes two earthquakes
         that occurred eight and 13 miles from the project area, respectfully, within the past
         12 years and explained that following PHMSA standards for pipelines would minimize
         the potential for impacts from earthquakes.290 Moreover, the EA explains that modern
         gas pipelines in good conditions can withstand seismic events and ground waves.291



                285
                    See, e.g., Catherine Crumpton Sept. 22, 2023 Comments on EA; Cindy
         Cochran Feb. 28, 2023 Comments at 2; Bill Guerra Addington Mar. 7, 2023 Comments
         at 1-2; Steve Chima Feb. 1, 2023 Comments; Steve Chima Feb. 1, 2023 Protest.
                286
                   Sierra Club Sept. 25, 2023 Comments on EA at 85-86; Antionette Reyes
         Sept. 26, 2023 Comments on EA at 3.
                287
                      Sierra Club Sept. 25, 2023 Comments on EA at 85-86.
                288
                      EA at 41. No new access roads will be constructed. Id.
                289
                      Id. at 10.
                290
                      Id.
                291
                      Id.
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780              Filed: 06/13/2024     Page 65 of 83
         Docket No. CP23-29-000                                                                   - 56 -

         Thus, the EA concludes, and we agree, that the Border Facility will not be significantly
         affected by seismicity.292

                       13.    Environmental Conclusion

                We have reviewed the information and analysis contained in the EA, as well as the
         other information in the record, regarding potential environmental effects of the project.
         We accept the environmental recommendations in the EA, as modified above, and we are
         including them as conditions in an appendix to this order. Based on the analysis in the
         EA, as supplemented or clarified in this order,293 we conclude that if the project is
         constructed and operated in accordance with the Saguaro’s application and supplements,
         and in compliance with the environmental conditions in Appendix A to this order, our
         approval of this proposal would not constitute a major federal action significantly
         affecting the quality of the human environment.294

         V.     Conclusion

                Based on the discussion above, we find that construction and operation of the
         proposed Border Facility is not inconsistent with the public interest. Accordingly, we
         will grant Saguaro’s application for a Presidential Permit and authorization under
         section 3 of the NGA to construct and operate the Border Facility, subject to the
         conditions in this order.

                Compliance with the environmental conditions appended to our orders is integral
         to ensuring that the environmental impacts of approved projects are consistent with those
         anticipated by our environmental analyses. Thus, Commission staff carefully reviews all
         information submitted. Only when satisfied that the applicant has complied with all
         applicable conditions will a notice to proceed with the activity to which the conditions are
         relevant be issued. We also note that the Commission has the authority to take whatever
         steps are necessary to ensure the protection of environmental resources during

                292
                    Id. at 11; see, e.g., Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,133 at P 112
         (finding that an EA adequately addressed safety concerns where the applicant follows the
         “prevailing safety regulations administered by PHMSA”); see also 49 C.F.R.
         § 192.935(b)(2) (2023) (explaining that pipeline operators are required to “minimize the
         consequences [of] . . . outside force damage[,]” including seismicity).
                293
                   Although the analysis in the EA provides substantial evidence for our
         conclusions in this order, it is the order itself that serves as our record of decision. The
         order supersedes any inconsistent discussion, analysis, or finding in the EA.
                294
                   We are not making a significance determination regarding GHG impacts for the
         reasons discussed in PP 75-76, supra.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780             Filed: 06/13/2024      Page 66 of 83
         Docket No. CP23-29-000                                                                 - 57 -

         construction and operation of the project, including authority to impose any additional
         measures deemed necessary to ensure continued compliance with the intent of the
         conditions of the order, as well as the avoidance or mitigation of unforeseen adverse
         environmental impacts resulting from project construction and operation.

                 Any state or local permits issued with respect to the jurisdictional facilities
         authorized herein must be consistent with the conditions of this authorization. The
         Commission encourages cooperation between interstate pipelines and local authorities.
         However, this does not mean that state and local agencies, through application of state or
         local laws, may prohibit or unreasonably delay the construction or operation of facilities
         approved by this Commission.295

               The Commission on its own motion, received and made part of the record all
         evidence, including the application, supplements, and exhibits thereto, and all comments
         submitted herein, and upon consideration of the record,

         The Commission orders:

               (A) A Presidential Permit and NGA section 3 authorization are issued to
         Saguaro to site, construct, and operate natural gas export facilities at the border between
         the United States and Mexico, subject to the conditions of the Presidential Permit and
         compliance with the environmental conditions in Appendix A to this order.

                (B) Saguaro must sign and return the testimony of acceptance of all provisions,
         conditions, and requirements of the Presidential Permit to the Secretary of the
         Commission (Secretary) within 30 days of the issuance of this order.

                (C) The authorized export facilities must be completed and placed in service
         within three years of the date of issuance of this order.

                (D) Saguaro must notify the Commission’s environmental staff by telephone or
         e-mail of any environmental noncompliance identified by federal, state, or local agencies



                295
                   See 15 U.S.C. § 717r(d) (state or federal agency’s failure to act on a permit
         considered to be inconsistent with Federal law); see also Schneidewind v. ANR Pipeline
         Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with FERC’s regulatory
         authority over the transportation of natural gas is preempted) and Dominion
         Transmission, Inc. v. Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and
         local regulation is preempted by the NGA to the extent it conflicts with federal
         regulation, or would delay the construction and operation of facilities approved by the
         Commission).
Document Accession #: 20240215-3066          Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780           Filed: 06/13/2024    Page 67 of 83
         Docket No. CP23-29-000                                                           - 58 -

         on the same day that such agency notifies Saguaro. Saguaro must file written
         confirmation of such notification with the Secretary within 24 hours.

         By the Commission. Commissioner Clements is dissenting in part with a separate
                            statement attached.

         (SEAL)


                                                     Debbie-Anne A. Reese,
                                                       Acting Secretary.
Document Accession #: 20240215-3066          Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780             Filed: 06/13/2024     Page 68 of 83
         Docket No. CP23-29-000                                                               - 59 -

                                   Appendix A – Environmental Conditions

         As recommended in the Environmental Assessment (EA) and modified herein, this
         authorization includes the following conditions:

               1.     Saguaro Connector Pipeline (Saguaro) shall follow the construction
                      procedures and mitigation measures described in its application and
                      supplements, including responses to staff data requests, and as identified in
                      the EA, unless modified by the Order. Saguaro must:

               a.     request any modification to these procedures, measures, or conditions in a
                      filing with the Secretary of the Commission (Secretary);
               b.     justify each modification relative to site-specific conditions;
               c.     explain how that modification provides an equal or greater level of
                      environmental protection than the original measure; and
               d.     receive approval in writing from the Director of the Office of Energy
                      Projects (OEP), or the Director’s designee, before using that
                      modification.

         2.    The Director of OEP, or the Director’s designee, has delegated authority to
               address any requests for approvals or authorizations necessary to carry out the
               conditions of the Order, and take whatever steps are necessary to ensure the
               protection of environmental resources during construction and operation of the
               Project. This authority shall allow:

               a.     the modification of conditions of the Order;
               b.     stop-work authority; and
               c.     the imposition of any additional measures deemed necessary to ensure
                      continued compliance with the intent of the conditions of the Order as well
                      as the avoidance or mitigation of unforeseen adverse environmental impact
                      resulting from Project construction and operation activities.

         3.    Prior to any construction, Saguaro shall file an affirmative statement with the
               Secretary, certified by a senior company official, that all company personnel,
               environmental inspectors (EIs), and contractor personnel shall be informed of the
               EI’s authority and have been or will be trained on the implementation of the
               environmental mitigation measures appropriate to their jobs before becoming
               involved with construction and restoration activities.

         4.    The authorized facility location shall be as shown in the EA, as supplemented by
               filed alignment sheets. As soon as they are available, and before the start of
               construction, Saguaro shall file with the Secretary any revised detailed survey
               alignment maps/sheets at a scale not smaller than 1:6,000 with station positions for
Document Accession #: 20240215-3066          Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780            Filed: 06/13/2024     Page 69 of 83
         Docket No. CP23-29-000                                                                - 60 -

               the facility approved by the Order. All requests for modifications of
               environmental conditions of the Order or site-specific clearances must be written
               and must reference locations designated on these alignment maps/sheets.

         5.    Saguaro shall file with the Secretary detailed alignment maps/sheets and aerial
               photographs at a scale not smaller than 1:6,000 identifying all route realignments,
               staging areas, pipe storage yards, new access roads, and other areas that would be
               used or disturbed and have not been previously identified in filings with the
               Secretary. Approval for each of these areas must be explicitly requested in
               writing. For each area, the request must include a description of the existing land
               use/cover type, documentation of landowner approval, whether any cultural
               resources or federally listed threatened or endangered species would be affected,
               and whether any other environmentally sensitive areas are within or abutting the
               area. All areas shall be clearly identified on the maps/sheets/aerial photographs.
               Each area must be approved in writing by the Director of OEP, or the Director’s
               designee, before construction in or near that area.

               This requirement does not apply to extra workspaces allowed by the
               Commission’s Upland Erosion Control, Revegetation, and Maintenance Plan
               and/or minor field realignments per landowner needs and requirements, which do
               not affect other landowners or sensitive environmental areas such as wetlands.

               Examples of alterations requiring approval include all route realignments and
               facility location changes resulting from:

               a.     implementation of cultural resources mitigation measures;
               b.     implementation of endangered, threatened, or special concern species
                      mitigation measures;
               c.     recommendations by state regulatory authorities; and
               d.     agreements with individual landowners that affect other landowners or
                      could affect sensitive environmental areas.

         6.    Within 60 days of the authorization, Saguaro shall file an Implementation Plan
               with the Secretary for review and written approval by the Director of OEP, or the
               Director’s designee. Saguaro must file revisions to the Implementation Plan as
               schedules change. The Implementation Plan shall identify:

               a.     how Saguaro would implement the construction procedures and mitigation
                      measures described in its application and supplements (including responses
                      to staff data requests), identified in the EA, and required by the Order;
               b.     how Saguaro would incorporate these requirements into the contract bid
                      documents, construction contracts (especially penalty clauses and
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780             Filed: 06/13/2024      Page 70 of 83
         Docket No. CP23-29-000                                                                - 61 -

                      specifications), and construction drawings so that the mitigation required at
                      each site is clear to onsite construction and inspection personnel;
               c.     the number of EIs assigned, and how the company would ensure that
                      sufficient personnel are available to implement the environmental
                      mitigation;
               d.     company personnel, including EIs and contractors, who would receive
                      copies of the appropriate material;
               e.     the location and dates of the environmental compliance training and
                      instructions Saguaro would give to all personnel involved with construction
                      and restoration (initial and refresher training as the project progresses and
                      personnel change);
               f.     the company personnel (if known) and specific portion of Saguaro’s
                      organization having responsibility for compliance;
               g.     the procedures (including use of contract penalties) Saguaro would follow
                      if noncompliance occurs; and
               h.     for each discrete facility, a Gantt or PERT chart (or similar project
                      scheduling diagram), and dates for:
                      i.     the completion of all required surveys and reports;
                      ii.    the environmental compliance training of onsite personnel;
                      iii.   the start of construction; and
                      iv.    the start and completion of restoration.

         7.    Saguaro shall employ at least one EI during active construction and restoration.
               The EI shall be:

               a.     responsible for monitoring and ensuring compliance with all mitigation
                      measures required by the Order and other grants, permits, certificates, or
                      other authorizing documents;
               b.     responsible for evaluating the construction contractor’s implementation of
                      the environmental mitigation measures required in the contract (see
                      condition 6 above) and any other authorizing document;
               c.     empowered to order correction of acts that violate the environmental
                      conditions of the Order, and any other authorizing document;
               d.     a full-time position, separate from all other activity inspectors;
               e.     responsible for documenting compliance with the environmental conditions
                      of the Order, as well as any environmental conditions / permit requirements
                      imposed by other federal, state, or local agencies; and
               f.     responsible for maintaining status reports.

         8.    Beginning with the filing of its Implementation Plan, Saguaro shall file updated
               status reports with the Secretary on a biweekly basis until all construction and
               restoration activities are complete. On request, these status reports shall also be
Document Accession #: 20240215-3066          Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780             Filed: 06/13/2024     Page 71 of 83
         Docket No. CP23-29-000                                                                 - 62 -

               provided to other federal and state agencies with permitting responsibilities.
               Status reports shall include:

               a.     an update on Saguaro’s efforts to obtain the necessary federal
                      authorizations;
               b.     the construction status of the Project, work planned for the following
                      reporting period, and any schedule changes for stream crossings or work in
                      environmentally sensitive areas;
               c.     a listing of all problems encountered and each instance of noncompliance
                      observed by the EI during the reporting period (both for the conditions
                      imposed by the Commission and any environmental conditions / permit
                      requirements imposed by other federal, state, or local agencies);
               d.     a description of the corrective actions implemented in response to all
                      instances of noncompliance;
               e.     the effectiveness of all corrective actions implemented;
               f.     a description of any landowner / resident complaints, which may relate to
                      compliance with the requirements of the Order, and the measures taken to
                      satisfy their concerns; and
               g.     copies of any correspondence received by Saguaro from other federal, state,
                      or local permitting agencies concerning instances of noncompliance, and
                      Saguaro’s response.

         9.    Saguaro must receive written authorization from the Director of OEP, or the
               Director’s designee, before commencing construction of any Project facilities.
               To obtain such authorization, Saguaro must file with the Secretary documentation
               that it has received all applicable authorizations required under federal law (or
               evidence of waiver thereof).

         10.   Saguaro must receive written authorization from the Director of OEP, or the
               Director’s designee, before placing the Project into service. Such authorization
               will only be granted following a determination that rehabilitation and restoration
               of the right-of-way and other areas affected by the Project are proceeding
               satisfactorily.

         11.   Within 30 days of placing the authorized facilities in service, Saguaro shall file
               an affirmative statement with the Secretary, certified by a senior company official:

               a.     that the facilities have been constructed and installed in compliance with all
                      applicable conditions, and that continuing activities would be consistent
                      with all applicable conditions; or
               b.     identifying which of the conditions in the Order Saguaro has complied with
                      or will comply with. This statement shall also identify any areas affected
                      by the Project where compliance measures were not properly implemented,
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780              Filed: 06/13/2024      Page 72 of 83
         Docket No. CP23-29-000                                                                  - 63 -

                      if not previously identified in filed status reports, and the reason for
                      noncompliance.

         12.   Within five days of the final determination of the use of the Nationwide
               Permit 12 issued by the U.S. Army Corps of Engineers, Saguaro shall file the
               complete water quality certification issued categorically by the Railroad
               Commission of Texas, including all conditions, for review by the Director of OEP,
               or the Director’s designee, under 40 Code of Federal Regulations (CFR) § 121.9.
               All conditions attached to the water quality certification except those that the
               Director of OEP, or the Director’s designee, may identify as waived pursuant to
               40 CFR § 121.9, constitute mandatory conditions of this Certificate Order. Prior
               to construction, Saguaro shall file, for review and written approval by the
               Director of OEP, or the Director’s designee, any revisions to its project design
               necessary to comply with the water quality certification conditions.

         13.   Saguaro shall not begin construction of facilities and/or use of all staging, storage,
               or temporary work areas until:

                      a      Saguaro files with the Secretary:
                             (1)    remaining cultural resources survey report(s);
                             (2)    site evaluation report(s) and avoidance/treatment plan(s), as
                                    required; and
                             (3)    comments on the cultural resources reports and plans from the
                                    Texas State Historic Preservation Office.
                      b.     The Advisory Council on Historic Preservation is afforded an
                             opportunity to comment if historic properties would be adversely
                             affected; and
                      c.     the FERC staff reviews and the Director of OEP, or the Director’s
                             designee, approves the cultural resources reports and plans, and
                             notifies Saguaro in writing that treatment plans / mitigation measures
                             (including archaeological data recovery) may be implemented and/or
                             construction may proceed.

               All materials filed with the Commission containing location, character, and
               ownership information about cultural resources must have the cover and any
               relevant pages therein clearly labeled in bold lettering: “CUI//PRIV- DO NOT
               RELEASE.”
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780              Filed: 06/13/2024    Page 73 of 83
         Docket No. CP23-29-000                                                                - 64 -

                                               APPENDIX B

              PRESIDENTIAL PERMIT AUTHORIZING SAGUARO CONNECTOR
               PIPELINE, L.L.C. TO OPERATE AND MAINTAIN NATURAL GAS
             FACILITIES AT THE INTERNATIONAL BOUNDARY BETWEEN THE
               UNITED STATES AND MEXICO IN HUDSPETH COUNTY, TEXAS


                        FEDERAL ENERGY REGULATORY COMMISSION
                                 DOCKET NO. CP23-29-000

                                            (Issued XX, XXXX)

                 Saguaro Connector Pipeline, L.L.C. (Saguaro) filed on December 20, 2022, in
         Docket No. CP23-29-000 an application pursuant to Executive Order Nos. 10485 and
         12038, dated September 3, 1953, and February 3, 1978, respectively, and the Secretary of
         Energy’s Delegation Order No. S1-DEL-FERC-2006, effective May 16, 2006, requesting
         that the Commission issue an order under section 3 of the NGA and a Presidential Permit
         authorizing Saguaro to site, construct, and operate certain natural gas pipeline facilities,
         as described in Article 2 below, for the export of natural gas to Mexico.

                By letter filed November 28, 2023, the Secretary of State, and by letter filed
         September 12, 2023, the Secretary of Defense favorably recommend that the Permit be
         granted. The Federal Energy Regulatory Commission finds that the issuance of a Permit
         is appropriate and consistent with the public interest.

                Pursuant to the provisions of Executive Order Nos. 10485 and 12038, the
         Secretary of Energy’s Delegation Order No. S1-DEL-FERC-2006, and the Commission’s
         regulations, permission is granted to the Permittee to construct, operate, and maintain the
         natural gas facilities described in Article 2 below, upon the terms and conditions of the
         Permit.

                Article 1. It is expressly agreed by the Permittee that the facilities herein
         described shall be subject to all provisions and requirements of this Permit. This Permit
         may be modified or revoked by the President of the United States or the Federal Energy
         Regulatory Commission and may be amended by the Federal Energy Regulatory
         Commission upon proper application therefor.

                Article 2. The following facilities are subject to this Permit:

                An approximately 1,000-foot-long, 48-inch-diameter natural gas pipeline
                extending from the international boundary at the center of the Rio Grande River to
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780             Filed: 06/13/2024      Page 74 of 83
         Docket No. CP23-29-000                                                                    - 65 -

                an interconnection with an intrastate natural gas pipeline 1,000 feet inland from
                the river, approximately 18 miles from Sierra Blanca, Hudspeth County, Texas.

                 Article 3. The natural gas facilities subject to this Permit, or which may
         subsequently be included herein by modification or amendment, may be used for the
         transportation of natural gas between the United States and Mexico only in the amount, at
         the rate, and in the manner authorized under section 3 of the Natural Gas Act.

                Article 4. The operation and maintenance of the aforesaid facilities shall be
         subject to the inspection and approval of representatives of the United States. The
         Permittee shall allow officers and employees of the United States, showing proper
         credentials, free and unrestricted access to the land occupied by the facilities in the
         performance of their official duties.

                 Article 5. If in the future, it should appear to the Secretary of Defense that any
         facilities or operations permitted hereunder cause unreasonable obstruction to the free
         navigation of any of the navigable waters of the United States, the Permittee may be
         required, upon notice from the Secretary of Defense, to remove or alter the same so as to
         render navigation through such water free and unobstructed.

                Article 6. The Permittee shall be liable for all damages occasioned to the property
         of others by the operation or maintenance of the facilities, and in no event shall the
         United States be liable therefor. The Permittee shall do everything reasonable within its
         power to prevent or suppress fires on or near land occupied under this Permit.

                 Article 7. The Permittee agrees to file with the Commission, under oath and in
         such detail as the Commission may require, such statements or reports with respect to the
         natural gas exported or imported, or the facilities described herein, as the Commission
         may, from time to time, request. Such information may be made available to any federal,
         state, or local agency requesting such information.

                 Article 8. Neither this Permit nor the facilities, nor any part thereof, covered by
         this Permit shall be voluntarily transferred in any manner, but the Permit shall continue in
         effect temporarily for a reasonable time in the event of the involuntary transfer of the
         facilities by operation of law (including transfer to receivers, trustees, or purchasers under
         foreclosure or judicial sale) pending the making of an application for a permanent Permit
         and decision thereon, provided notice is promptly given in writing to the Commission
         accompanied by a statement that the facilities authorized by this Permit remain
         substantially the same as before the involuntary transfer. The Permittee shall maintain
         the facilities in a condition of repair for the efficient transportation of natural gas and
         shall make all necessary renewals and replacements.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199         Document #2059780             Filed: 06/13/2024      Page 75 of 83
         Docket No. CP23-29-000                                                                 - 66 -

                 Article 9. At such time that this Permit is surrendered, revoked, or otherwise
         terminated, the Commission shall determine which of the authorized facilities shall be
         removed and which shall remain in place. The Commission will specify the time within
         which any authorized facilities shall be removed, and the Permittee shall remove those
         facilities within such time and at the Permittee’s expense. Upon failure of the Permittee
         to comply with the Commission’s direction to remove any authorized facilities, the
         Commission may direct that possession of the same be taken and the facilities be
         removed at Permittee’s expense, and the Permittee shall have no claim for damages by
         reason of such possession or removal.

                 Article 10. The Permittee agrees that when, in the opinion of the President of the
         United States, evidenced by a written order addressed to it as holder of this Permit, the
         safety of the United States demands it, the United States shall have the right to enter upon
         and take possession of any of the facilities, or parts thereof, maintained or operated under
         this Permit, and all contracts covering the transportation or sale of natural gas by means
         of said facilities, to retain possession, management, and control thereof for such length of
         time as may appear to the President to be necessary to accomplish said purposes, and then
         to restore possession and control to the Permittee; and in the event that the United States
         shall exercise such right, it shall pay the Permittee just and fair compensation for the use
         of said facilities upon the basis of a reasonable profit in time of peace, and the costs of
         restoring said facilities to as good condition as existed at the time of taking over thereof,
         less the reasonable value of any improvements that may be made thereto by the United
         States and which are valuable and serviceable to the Permittee.

                Article 11. This Permit is subject to any action which the Government of the
         United States may in the future deem expedient or necessary to take in case any part of
         the aforesaid facilities comes into the control of any foreign government.

                Article 12. The Government of the United States shall be entitled to the same or
         similar privileges as may by law, regulation, agreement, or otherwise, be granted by the
         Permittee to any foreign government.

                By direction of the Commission.



                                                        Kimberly D. Bose,
                                                           Secretary.
Document Accession #: 20240215-3066         Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780           Filed: 06/13/2024   Page 76 of 83
         Docket No. CP23-29-000                                                             - 67 -

                 IN TESTIMONY OF ACCEPTANCE of all the provisions, conditions, and
         requirements of this Permit, the Permittee this day of ____________________ has caused
         its name to be signed by _______________________________, pursuant to a resolution
         of its Board of Directors duly adopted on the ____ day of ________, 2023, a certified
         copy of the record of which is attached hereto.



                                                       Saguaro Connector Pipeline, L.L.C.

                                                       By _


         (Attest)




         ____________________
         Executed in triplicate
Document Accession #: 20240215-3066             Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780           Filed: 06/13/2024     Page 77 of 83



                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

         Saguaro Connector Pipeline, LLC                          Docket No.        CP23-29-000


                                          (Issued February 15, 2024)

         CLEMENTS, Commissioner, dissenting in part:

                 I concur with the result of today’s Order, but I dissent from the majority’s
         conclusion that the Commission is incapable of assessing the significance of the impacts
         of greenhouse gas (GHG) emissions associated with the Saguaro Border Facility.1 The
         Commission should have simply found that the project’s minor GHG emissions are
         insignificant for purposes of both the National Environmental Policy Act2 and the
         Commission’s public interest determination under section 3 of the Natural Gas Act.3
         Instead, the Order imports wrong-headed language used in other recent certificate orders
         to find there are no acceptable tools for determining the significance of GHG emissions.

                In Northern Natural Gas Co., the Commission found that it could determine the
         significance of GHG emissions of a natural gas project by applying its experience,
         judgment, and expertise to the evidence in the record.4 The combined construction
         related and operational GHG emissions in that case amounted to 20,006 metric tons of
         carbon dioxide equivalents (CO2e), which the Commission found to be insignificant. The
         Saguaro Border Facility will generate a third of the projected emissions in Northern
         Natural: 6,869.2 metric tons CO2e of construction related GHG emissions and no
         operational emissions.5 Where, as here, the GHG emissions clearly would be deemed
         insignificant under any reasonable framework for assessing significance, the Commission
         should simply say so.

                Rather than reaching the obvious conclusion that the GHG emissions would be
         insignificant, the majority strains to include in the Order the same unnecessary and

               1
                    Saguaro Connector Pipeline, LLC, 186 FERC ¶ 61,114, at PP 76-77 (2024)
         (Order).
               2
                    42 U.S.C. §§ 4321 et seq.
               3
                    15 U.S.C. § 717b.
               4
                    See N. Nat. Gas Co., 174 FERC ¶ 61,189, at PP 32, 36 (2021).
               5
                    Order, 186 FERC ¶ 61,114 at P 65.
Document Accession #: 20240215-3066            Filed Date: 02/15/2024
        USCA Case #24-1199          Document #2059780            Filed: 06/13/2024    Page 78 of 83
         Docket No. CP23-29-000                                                                -2-

         misguided language to which I have previously objected. In my concurrence in Transco,
         I explained the history of the language in Paragraphs 76 and 77 of the Order,6 which is
         the so-called “Driftwood compromise.”7 In Driftwood, the majority suddenly adopted
         new language declaring that there are no methods for assessing the significance of GHG
         emissions, and particularly criticizing the Social Cost of GHGs protocol.8 I have
         dissented from this language in Driftwood and subsequent orders because (1) it reflects a
         final Commission decision that it cannot determine the significance of GHG emissions,
         despite the fact the Commission has never responded to comments in the GHG Policy
         Statement docket9 addressing methods for doing so; and (2) the language departs from
         previous Commission precedent without reasoned explanation, thereby violating the
         Administrative Procedure Act.10 I dissent from Paragraphs 76 and 77 of this Order for
         the same reasons.



               6
               See Transcon. Gas Pipe Line Co., 184 FERC ¶ 61,066 (2023) (Clements,
         Comm’r, concurring at PP 2-3) (Transco).
               7
                   See id. (Phillips, Chairman, and Christie, Comm’r, concurring at PP 1-2).
               8
                 See Driftwood Pipeline LLC, 183 FERC ¶ 61,049, at PP 61, 63 (2023)
         (Driftwood).
               9
                  Docket No. PL21-3. On February 18, 2022, the Commission issued an Interim
         GHG Policy Statement, Consideration of Greenhouse Gas Emissions in Nat. Gas
         Infrastructure Project Revs., 178 FERC ¶ 61,108 (2022), which proposed a NEPA
         significance threshold of 100,000 tons per year of CO2e. The Commission subsequently
         suspended the Interim GHG Policy Statement and opened it to further public comment.
         Order on Draft Policy Statements, 178 FERC ¶ 61,197, at P 2 (2022). The Commission
         has not yet addressed the comments in the reopened docket.
               10
                   See Driftwood, 183 FERC ¶ 61,049 (Clements, Comm’r, dissenting at PP 2-3 &
         n.5); see also Transcon. Gas Pipe Line Co., 186 FERC ¶ 61,063 (2024) (Clements,
         Comm’r, dissenting in part at PP 2-3); Columbia Gas Transmission, LLC, 186 FERC ¶
         61,048 (2024) (Clements, Comm’r, dissenting in part at PP 2-4); Transcon. Gas Pipe
         Line Co., 186 FERC ¶ 61,047 (2024) (Clements, Comm’r, dissenting at PP 8-9); Tenn.
         Gas Pipeline Co., 186 FERC ¶ 61,046 (2024) (Clements, Comm’r, dissenting in part at
         PP 1-2); ANR Pipeline Co., 185 FERC ¶ 61,191 (2023) (Clements, Comm’r, dissenting in
         part at PP 2-3); Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,133 (2023) (Clements,
         Comm’r, dissenting in part at PP 2-4); Transcon. Gas Pipe Line Co., 185 FERC ¶ 61,130
         (2023) (Clements, Comm’r, dissenting in part at PP 2-3); Tex. LNG Brownsville LLC,
         185 FERC ¶ 61,079 (2023) (Clements, Comm’r, dissenting at PP 9-10); Rio Grande
         LNG, LLC, 185 FERC ¶ 61,080 (2023) (Clements, Comm’r, dissenting at PP 9-10); Gas
         Transmission Nw., LLC, 185 FERC ¶ 61,035 (2023) (Clements, Comm’r, concurring in
Document Accession #: 20240215-3066           Filed Date: 02/15/2024
        USCA Case #24-1199        Document #2059780                 Filed: 06/13/2024   Page 79 of 83
         Docket No. CP23-29-000                                                                 -3-

                As I have said before, the Commission has not seriously studied whether the
         Social Cost of GHGs protocol or another tool can or should be used to determine
         significance. I cannot countenance the Commission’s continued refusal to objectively
         consider potential methods for assessing the impacts of GHG emissions and transparently
         incorporate analysis of GHG impacts in its substantive decision-making under the
         Natural Gas Act. At the very least, however, the Commission should rely on our
         precedent in Northern Natural to find that the GHG emissions here are not significant.

               For these reasons, I respectfully dissent in part.



         ____________________
         Allison Clements
         Commissioner




         part and dissenting in part at PP 7-8); WBI Energy Transmission, Inc., 185 FERC ¶
         61,036 (2023) (Clements, Comm’r, dissenting in part at PP 2-3); Venture Global
         Plaquemines LNG, LLC, 185 FERC ¶ 61,037 (2023) (Clements, Comm’r, dissenting in
         part at PP 2-3); Tex. E. Transmission, LP, 185 FERC ¶ 61,038 (2023) (Clements,
         Comm’r, dissenting in part at PP 2-3); Trailblazer Pipeline Co., 185 FERC ¶ 61,039
         (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Equitrans, L.P., 185 FERC ¶
         61,040 (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Port Arthur LNG Phase
         II, LLC, 184 FERC ¶ 61,184 (2023) (Clements, Comm’r, dissenting in part at PP 2-3);
         Venture Global Calcasieu Pass, LLC, 184 FERC ¶ 61,185 (2023) (Clements, Comm’r,
         dissenting in part at PP 2-4); N. Nat. Gas Co., 184 FERC ¶ 61,186 (2023) (Clements,
         Comm’r, dissenting in part at PP 2-3); Tex. E. Transmission, LP, 184 FERC ¶ 61,187
         (2023) (Clements, Comm’r, dissenting in part at PP 2-4); Equitrans, L.P., 183 FERC ¶
         61,200 (2023) (Clements, Comm’r dissenting at PP 2-3); Commonwealth LNG, LLC, 183
         FERC ¶ 61,173 (2023) (Clements, Comm’r, dissenting at PP 5-8); Rio Grande LNG,
         LLC, 183 FERC ¶ 61,046 (2023) (Clements, Comm’r, dissenting at PP 14-15); Tex. LNG
         Brownsville LLC, 183 FERC ¶ 61,047 (2023) (Clements, Comm’r, dissenting at PP 14-
         15).
Document Accession #: 20240215-3066   Filed Date: 02/15/2024
       USCA Case #24-1199  Document #2059780    Filed: 06/13/2024 Page 80 of 83
   Document Content(s)
   CP23 29 000.docx..........................................................1
USCA Case #24-1199   Document #2059780   Filed: 06/13/2024   Page 81 of 83




                        EXHIBIT B
Document Accession #: 20240418-3015            Filed Date: 04/18/2024
        USCA Case #24-1199         Document #2059780              Filed: 06/13/2024     Page 82 of 83



                                      187 FERC ¶ 62,050
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Saguaro Connector Pipeline, LLC                               Docket No. CP23-29-001

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                               (April 18, 2024)

                Rehearing has been timely requested of the Commission’s order issued on
         February 15, 2024, in this proceeding. Saguaro Connector Pipeline, LLC, 186 FERC
         ¶ 61,114 (2024). In the absence of Commission action on a request for rehearing within
         30 days from the date it is filed, the request for rehearing may be deemed to have been
         denied. 15 U.S.C. § 717r(a); 18 C.F.R. § 385.713 (2023); Allegheny Def. Project v.
         FERC, 964 F.3d 1 (D.C. Cir. 2020) (en banc).

                As provided in 15 U.S.C. § 717r(a), the request for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 15 U.S.C. § 717r(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.


                                                        Debbie-Anne A. Reese,
                                                          Acting Secretary.
Document Accession #: 20240418-3015   Filed Date: 04/18/2024
       USCA Case #24-1199  Document #2059780    Filed: 06/13/2024 Page 83 of 83
   Document Content(s)
   CP23 29 001.docx..........................................................1
